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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                          )
                  v.                      )  Civil Action No. 1:23-cv-01599
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES, INC.,               )
BAM MANAGEMENT US HOLDINGS,               )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                            DECLARATION OF SACHIN VERMA

        I, Sachin Verma, declare the following pursuant to Title 28, United States Code, Section

1746:

        1.      I submit this declaration in support of the Securities and Exchange Commission’s

“SEC” Motion for Temporary Restraining Order and Preliminary Injunctions

        2.      I have personal knowledge of the matters set forth in this declaration, except as

otherwise noted, and, if called as a witness, I could and would competently testify under oath to
the facts stated herein.

        3.      I am an active Certified Public Accountant with over 20 years of experience. I am

currently employed by the United States Securities and Exchange Commission (“SEC”) in

Washington, DC, as an Assistant Chief Accountant in the Division of Enforcement. As part of

my daily activities, I have performed numerous calculations using financial records in

connection with SEC investigations.
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      I. ASSIGNMENT AND DATA

          4.       I have been asked to summarize certain financial information produced by BAM

Trading Services Inc. related to their total capital raised, total revenue, and gross profit derived

during the time period February 4, 2019 through April 30, 2023. 1

          5.       I was provided an excel workbook containing various financial information and

financial statements from 2019 through April 2023 I understand was produced by BAM Trading

Services Inc. I was also provided 2 PDF files containing financial statements for the years 2020

through 2022. In addition, I reviewed the Form D – Notice of Exempt Offering of Securities filed

by BAM Management US Holdings Inc. 2 with the SEC on April 8, 2022. Copies of these

documents are attached hereto as Exhibits C-1 to C-4.

      II. TOTAL CAPITAL RAISED

          6.       Based on my review of the Form D filed by BAM Management US Holdings Inc.,

it appears that starting on or about March 25, 2022, BAM Management US Holdings Inc. sold

equity interests raising a total of $216,772,488 that I understand was for capitalizing the

Binance.US crypto asset trading platform. Ex C-1.

          7.       Applying the Internal Revenue Service underpayment penalty rate as set forth in

26 U.S.C. § 6621(a)(2) to above amount from March 25, 2022, the date of the first sale the

equity to the date of the Complaint filed in this action results in an estimated prejudgment

interest amount of $14,836,224.

      III. TOTAL REVENUE




1
    February 4, 2019 is the inception date of BAM Trading Services.
2
    I understand that BAM Management US Holdings Inc. is the parent company of BAM Trading Services, Inc.

                                                        2
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           8.      From the file labeled BTS00833796, I obtained revenue figures for BAM Trading

for the year 2019 beginning on February 4, the full years 2020, 2021, and 2022, and for the

partial year 2023 through April 30. Ex. C-2. The total revenue for this time period is

$410,901,585.

      IV. GROSS PROFIT

           9.      I was also asked to calculate gross profit for BAM Trading for the same time

period, February 2019 through April 2023. Gross profit is defined as the amount of total revenue

minus cost of revenue. I obtained these numbers for the years 2020, 2021, and 2022 from the

files labeled BTS00833764-BTS00833785 and BTS00833798-BTS00833823. 3 Ex. C-3 and Ex.

C-4.

           10.     For the years 2020 through 2022, I calculate gross profit of $203,643,597.

Because this data is missing for 2019 and 2023, I calculated the average gross profit margin for

the years 2020 through 2022 and applied that gross profit margin to the years with missing data.

I calculate the average gross profit margin for the years 2020 through 2022 at 54.68%. 4 I then

multiply this percentage and the total revenue numbers to get gross profit numbers for the years

2019 and 2023.

           11.     I calculate total gross profit for BAM Trading for the time period February 2019

through April 2023 at $224,674,408.

           12.     Applying the Internal Revenue Service underpayment penalty rate as set forth in

26 U.S.C. § 6621(a)(2) to these amounts from the applicable year end to the date of the

Complaint filed in this action results in an estimated prejudgment interest of $13,455,870.




3
    Gross profit numbers can be located on page 6 of each PDF.
4
    $203,643,597/$372,438,844.

                                                          3
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       13.     A summary chart of my calculations for total revenue, gross profit, and

prejudgment interest is provided at Ex. C-5.

   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



   Executed on June 5, 2023 in Washington, DC.




                                               ______________________
                                                     Sachin Verma




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     The Securities and Exchange Commission has not necessarily reviewed the information in this filing and has
                                    not determined if it is accurate and complete.
                     The reader should not assume that the information is accurate and complete.

                   UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                                     OMB APPROVAL
                                                  Washington, D.C. 20549
                                                                                                                                            3235-
                                                           FORM D                                                     OMB Number:
                                                                                                                                             0076
                                                                                                                      Estimated average burden
                                                                                                                      hours per
                                   Notice of Exempt Offering of Securities                                            response:
                                                                                                                                             4.00




  1. Issuer's Identity

                                                Previous
  CIK (Filer ID Number)                                        X None                            Entity Type
                                                Names
  0001875947                                                                                     X Corporation
  Name of Issuer                                                                                    Limited Partnership
  BAM Management US Holdings Inc.
                                                                                                    Limited Liability Company
  Jurisdiction of
  Incorporation/Organization                                                                        General Partnership
  DELAWARE                                                                                          Business Trust
  Year of Incorporation/Organization
                                                                                                    Other (Specify)
      Over Five Years Ago
   X Within Last Five Years (Specify Year) 2019
      Yet to Be Formed

  2. Principal Place of Business and Contact Information

  Name of Issuer
  BAM Management US Holdings Inc.
  Street Address 1                                              Street Address 2
  ONE LETTERMAN DRIVE                                           BUILDING C SUITE C3-800
  City                           State/Province/Country         ZIP/PostalCode                   Phone Number of Issuer
  SAN FRANSISCO                  CALIFORNIA                     94129                            (628) 200-0787

  3. Related Persons

  Last Name                                First Name                               Middle Name
  Shroder                                  Brian
  Street Address 1                         Street Address 2
  One Letterman Drive                      Building C, Suite C3-800
  City                                     State/Province/Country                   ZIP/PostalCode
  San Francisco                            CALIFORNIA                               94129
  Relationship: X Executive Officer X Director         Promoter

  Clarification of Response (if Necessary):


  Last Name                                First Name                               Middle Name
  Zhao                                     Changpeng
  Street Address 1                         Street Address 2
https://www.sec.gov/Archives/edgar/data/1875947/000095017222000066/xslFormDX01/primary_doc.xml                                                      1/5
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  One Letterman Drive                      Building C, Suite C3-800
  City                                     State/Province/Country                   ZIP/PostalCode
  San Francisco                            CALIFORNIA                               94129
  Relationship:      Executive Officer X Director     Promoter

  Clarification of Response (if Necessary):


  Last Name                                First Name                               Middle Name
  Chao                                     Gin
  Street Address 1                         Street Address 2
  One Letterman Drive                      Building C, Suite C3-800
  City                                     State/Province/Country                   ZIP/PostalCode
  San Francisco                            CALIFORNIA                               94129
  Relationship:      Executive Officer X Director     Promoter

  Clarification of Response (if Necessary):


  4. Industry Group

      Agriculture                                    Health Care                       Retailing
      Banking & Financial Services                      Biotechnology
                                                                                       Restaurants
         Commercial Banking                             Health Insurance               Technology
         Insurance
                                                        Hospitals & Physicians            Computers
         Investing
         Investment Banking                             Pharmaceuticals                   Telecommunications

         Pooled Investment Fund                         Other Health Care               X Other Technology

         Is the issuer registered as                 Manufacturing                     Travel
         an investment company under
                                                     Real Estate                          Airlines & Airports
         the Investment Company
         Act of 1940?                                   Commercial                        Lodging & Conventions
             Yes                  No
                                                        Construction                      Tourism & Travel Services
         Other Banking & Financial Services
                                                        REITS & Finance                   Other Travel
      Business Services
                                                        Residential                    Other
      Energy
         Coal Mining                                    Other Real Estate

         Electric Utilities

         Energy Conservation

         Environmental Services

         Oil & Gas

         Other Energy


  5. Issuer Size

  Revenue Range                   OR                Aggregate Net Asset Value Range
     No Revenues                                       No Aggregate Net Asset Value
https://www.sec.gov/Archives/edgar/data/1875947/000095017222000066/xslFormDX01/primary_doc.xml                        2/5
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     $1 - $1,000,000                                   $1 - $5,000,000
     $1,000,001 -
                                                       $5,000,001 - $25,000,000
     $5,000,000
     $5,000,001 -
                                                       $25,000,001 - $50,000,000
     $25,000,000
     $25,000,001 -
                                                       $50,000,001 - $100,000,000
     $100,000,000
     Over $100,000,000                                 Over $100,000,000
   X Decline to Disclose                               Decline to Disclose
     Not Applicable                                    Not Applicable

  6. Federal Exemption(s) and Exclusion(s) Claimed (select all that apply)


                                                         Investment Company Act Section 3(c)

       Rule 504(b)(1) (not (i), (ii) or (iii))           Section 3(c)(1)            Section 3(c)(9)

       Rule 504 (b)(1)(i)                                Section 3(c)(2)            Section 3(c)(10)
       Rule 504 (b)(1)(ii)
                                                         Section 3(c)(3)            Section 3(c)(11)
       Rule 504 (b)(1)(iii)
                                                         Section 3(c)(4)            Section 3(c)(12)
       Rule 506(b)
    X Rule 506(c)                                        Section 3(c)(5)            Section 3(c)(13)
       Securities Act Section 4(a)(5)                    Section 3(c)(6)            Section 3(c)(14)

                                                         Section 3(c)(7)


  7. Type of Filing

   X New Notice Date of First Sale 2022-03-25           First Sale Yet to Occur
     Amendment

  8. Duration of Offering

  Does the Issuer intend this offering to last more than one year?           Yes X No

  9. Type(s) of Securities Offered (select all that apply)

   X Equity                                                                Pooled Investment Fund Interests
     Debt                                                                  Tenant-in-Common Securities
     Option, Warrant or Other Right to Acquire Another Security            Mineral Property Securities
     Security to be Acquired Upon Exercise of Option, Warrant
                                                                           Other (describe)
     or Other Right to Acquire Security

  10. Business Combination Transaction

  Is this offering being made in connection with a business combination transaction,
                                                                                                  Yes X No
  such as a merger, acquisition or exchange offer?

  Clarification of Response (if Necessary):

  11. Minimum Investment


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  Minimum investment accepted from any outside investor $0 USD

  12. Sales Compensation

  Recipient                                                      Recipient CRD Number X None

                                                                 (Associated) Broker or Dealer CRD
   (Associated) Broker or Dealer X None                                                               X None
                                                                 Number
  Street Address 1                                               Street Address 2
                                                                                                                ZIP/Postal
  City                                                           State/Province/Country
                                                                                                                Code
   State(s) of Solicitation (select all that
   apply)                                           All
                                                                   Foreign/non-US
   Check “All States” or check individual           States
   States

  13. Offering and Sales Amounts

  Total Offering Amount                        USD or X Indefinite
  Total Amount Sold             $216,772,488 USD
  Total Remaining to be Sold                   USD or X Indefinite

  Clarification of Response (if Necessary):

  14. Investors

      Select if securities in the offering have been or may be sold to persons who do not qualify as accredited
      investors, and enter the number of such non-accredited investors who already have invested in the
      offering.
      Regardless of whether securities in the offering have been or may be sold to persons who do not           30
      qualify as accredited investors, enter the total number of investors who already have invested in the
      offering:

  15. Sales Commissions & Finder's Fees Expenses

  Provide separately the amounts of sales commissions and finders fees expenses, if any. If the amount of an expenditure is
  not known, provide an estimate and check the box next to the amount.

                   Sales Commissions $0 USD           Estimate

                         Finders' Fees $0 USD         Estimate

  Clarification of Response (if Necessary):

  16. Use of Proceeds

  Provide the amount of the gross proceeds of the offering that has been or is proposed to be used for payments to any of the
  persons required to be named as executive officers, directors or promoters in response to Item 3 above. If the amount is
  unknown, provide an estimate and check the box next to the amount.

                                         $0 USD       Estimate

  Clarification of Response (if Necessary):

  Signature and Submission

  Please verify the information you have entered and review the Terms of Submission below before signing and
  clicking SUBMIT below to file this notice.

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  Terms of Submission

  In submitting this notice, each issuer named above is:

             Notifying the SEC and/or each State in which this notice is filed of the offering of securities described and undertaking
             to furnish them, upon written request, in the accordance with applicable law, the information furnished to offerees.*

             Irrevocably appointing each of the Secretary of the SEC and, the Securities Administrator or other legally designated
             officer of the State in which the issuer maintains its principal place of business and any State in which this notice is
             filed, as its agents for service of process, and agreeing that these persons may accept service on its behalf, of any
             notice, process or pleading, and further agreeing that such service may be made by registered or certified mail, in any
             Federal or state action, administrative proceeding, or arbitration brought against the issuer in any place subject to the
             jurisdiction of the United States, if the action, proceeding or arbitration (a) arises out of any activity in connection with
             the offering of securities that is the subject of this notice, and (b) is founded, directly or indirectly, upon the provisions
             of: (i) the Securities Act of 1933, the Securities Exchange Act of 1934, the Trust Indenture Act of 1939, the Investment
             Company Act of 1940, or the Investment Advisers Act of 1940, or any rule or regulation under any of these statutes, or
             (ii) the laws of the State in which the issuer maintains its principal place of business or any State in which this notice is
             filed.

             Certifying that, if the issuer is claiming a Regulation D exemption for the offering, the issuer is not disqualified from
             relying on Rule 504 or Rule 506 for one of the reasons stated in Rule 504(b)(3) or Rule 506(d).


  Each Issuer identified above has read this notice, knows the contents to be true, and has duly caused this notice to be signed
  on its behalf by the undersigned duly authorized person.

  For signature, type in the signer's name or other letters or characters adopted or authorized as the signer's signature.

                             Issuer                                      Signature                 Name of Signer                               Title                          Date
   BAM Management US Holdings Inc.                                /s/ Brian Shroder             Brian Shroder                  Chief Executive Officer                  2022-04-08

  Persons who respond to the collection of information contained in this form are not required to
  respond unless the form displays a currently valid OMB number.
  * This undertaking does not affect any limits Section 102(a) of the National Securities Markets Improvement Act of 1996 ("NSMIA") [Pub. L. No. 104-290, 110 Stat. 3416 (Oct. 11,
  1996)] imposes on the ability of States to require information. As a result, if the securities that are the subject of this Form D are "covered securities" for purposes of NSMIA, whether
  in all instances or due to the nature of the offering that is the subject of this Form D, States cannot routinely require offering materials under this undertaking or otherwise and can
  require offering materials only to the extent NSMIA permits them to do so under NSMIA's preservation of their anti-fraud authority.




https://www.sec.gov/Archives/edgar/data/1875947/000095017222000066/xslFormDX01/primary_doc.xml                                                                                                 5/5
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BAM Trading Services Inc.
Income Statement Details as of April 30th, 2023

                                                                        Audited        Audited        Audited        Audited        Unaudited
Figures in USD 000s                                                       2019           2020           2021           2022         YTD 2023        Grand Total

Revenue                                                             $      254     $   11,003    $   265,850    $    95,586     $     38,209    $     410,902

   Crypto Trading Network Fees                                                14          630         35,150          6,287              840           42,920
   Royalty Expense - BHL                                   Note 1           -             427         10,827          3,805            1,527           16,587
   IT Support - BHL                                                         -             127            127            127                42             424
   Fiat Rail Costs                                                          -             -           31,165          7,748            1,549           40,462
   Transaction Monitoring                                                   -             -           12,892          6,186            1,257           20,335
   Web Hosting and Other Exchange Costs                                     216         1,160          8,876         23,799           11,916           45,967
   Chargebacks                                                            1,070         2,083         19,816         (3,393)           1,422           20,998
   Compensation and benefits                               Note 2           294         2,777         24,747         43,650           20,341           91,809
   Advertising and marketing                                                260           978         23,968          8,150            1,946           35,302
   Professional services                                   Note 1           187         2,655         12,208         24,911            8,545           48,506
   Legal and compliance fees                               Note 4           296         1,224         18,164         39,520           16,905           76,108
   Travel                                                                     27            48           611          1,331              188            2,205
   Software tools and licenses                                              155           868          1,291          4,419            2,044            8,776
   Transaction Loss - HNT                                                   -             -              -            4,178              -              4,178
   Other business expenses                                 Note 5           257           556          1,358          1,450            1,221            4,842
   Insurance                                                                  51          345            460            685              458            1,999
   Rent and utilities                                                         37          506          1,189          1,110              283            3,126
   Depreciation                                                                2            18             96           399              177              691
   Taxes and licenses                                                         51          (41)           147            298                65             520
   Crypto assets impairment                                                 -             -              -           16,850              750           17,600
Total operating expenses                                                  2,916        14,362        203,093        191,509           71,478          483,358
Operating Income (Loss)                                                  (2,662)       (3,359)        62,757        (95,924)         (33,269)         (72,456)

Gain (Loss) on crypto assets                                                (20)        2,979        137,068        (123,083)          2,040           18,984
Other income, net                                                           -             -              -                17              71               88
   Total other income (expense), net                                        (20)        2,979        137,068        (123,067)          2,111           19,072

Income (loss) before provision for taxes                                 (2,681)         (380)       199,826        (218,991)        (31,158)          (53,384)

Provision (benefit) for income taxes                                        -              19         50,244         (37,640)         (8,213)            4,411

Net income (loss)                                                   $    (2,681) $       (399) $     149,581    $   (181,350) $      (22,945) $        (57,795)
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                BAM Trading Services Inc.
                Financial Statements

                December 31, 2021 and 2020




FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                      BTS00833764
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FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                            BTS00833765
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                                         INDEPENDENT AUDITOR'S REPORT

       Board of Directors
       BAM Trading Services Inc.
       San Francisco, California

       Opinion

       We have audited the accompanying financial statements of BAM Trading Services Inc. (a Delaware
       corporation) (the ''Company''), which comprise the balance sheets as of December 31, 2021 and 2020, and
       the related statements of income, stockholder's equity, and cash flows for the years then ended, and the
       related notes to the financial statements.

       In our opinion, the financial statements referred to above present fairly, in all material respects, the financial
       position of BAM Trading Services Inc. as of December 31, 2021 and 2020, and the results of its operations
       and its cash flows for the years then ended in accordance with accounting principles generally accepted in
       the United States of America.

       Basis for Opinion

       We conducted our audits in accordance with auditing standards generally accepted in the United States of
       America. Our responsibilities under those standards are further described in the Auditor's Responsibilities
       for the Audit of the Financial Statements section of our report. We are required to be independent of BAM
       Trading Services Inc. and to meet our other ethical responsibilities in accordance with the relevant ethical
       requirements relating to our audits. We believe that the audit evidence we have obtained is sufficient and
       appropriate to provide a basis for our audit opinion.

       Responsibilities of Management for the Financial Statements

       Management is responsible for the preparation and fair presentation of these financial statements in
       accordance with accounting principles generally accepted in the United States of America, and for the
       design, implementation, and maintenance of internal control relevant to the preparation and fair presentation
       of financial statements that are free from material misstatement, whether due to fraud or error.

       In preparing the financial statements, management is required to evaluate whether there are conditions or
       events, considered in the aggregate, that raise substantial doubt about BAM Trading Services Inc.'s ability
       to continue as a going concern within one year after the date that the financial statements are available to
       be issued.




                                                               1



FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                BTS00833766
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      Auditor's Responsibilities for the Audit of the Financial Statements

      Our objectives are to obtain reasonable assurance about whether the financial statements as a whole are free
      from material misstatement, whether due to fraud or error, and to issue an auditor's report that includes our
      opinion. Reasonable assurance is a high level of assurance but is not absolute assurance and therefore is
      not a guarantee that an audit conducted in accordance with auditing standards generally accepted in the
      United States of America will always detect a material misstatement when it exists. The risk of not
      detecting a material misstatement resulting from fraud is higher than for one resulting from error, as fraud
      may involve collusion, forgery, intentional omissions, misrepresentations, or the override of internal
      control. Misstatements are considered material if there is a substantial likelihood that, individually or in
      the aggregate, they would influence the judgment made by a reasonable user based on the financial
      statements.

      In performing an audit in accordance with auditing standards generally accepted in the United States of
      America, we:
          Exercise professional judgment and maintain professional skepticism throughout the audit.
          Identify and assess the risks of material misstatement of the financial statements, whether due to fraud
          or error, and design and perform audit procedures responsive to those risks. Such procedures include
          examining, on a test basis, evidence regarding the amounts and disclosures in the financial statements.
          Obtain an understanding of internal control relevant to the audit in order to design audit procedures that
          are appropriate in the circumstances, but not for the purpose of expressing an opinion on the
          effectiveness of BAM Trading Services Inc.'s internal control. Accordingly, no such opinion is
          expressed.
          Evaluate the appropriateness of accounting policies used and the reasonableness of significant
          accounting estimates made by management, as well as evaluate the overall presentation of the financial
          statements.
          Conclude whether, in our judgment, there are conditions or events, considered in the aggregate, that
          raise substantial doubt about BAM Trading Services Inc.'s ability to continue as a going concern for a
          reasonable period of time.

      We are required to communicate with those charged with governance regarding, among other matters, the
      planned scope and timing of the audit, significant audit findings, and certain internal control related matters
      that we identified during the audit.


                                                            ArmaninoLLP
                                                            San Jose, California
      March 30, 2022




                                                            2



FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                        BTS00833767
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                                                         BAM Trading Services Inc.
                                                             Balance Sheets
                                                        December 31, 2021 and 2020



                                                                                      2021               2020
                                                               ASSETS
             Current assets
              Cash and cash equivalents                                        $      28,613,940    $    15,076,318
              Digital assets                                                         151,840,798          7,118,585
              Prepaid expenses                                                         8,598,070          1,311,812
              Customer funds receivable                                               13,432,230          2,480,377
              Customer custodial funds                                               250,600,508         64,269,333
              Income tax receivable                                                    8,839,040                  -
              Right-of-use asset, current portion                                        613,124            448,749
                Total current assets                                                 462,537,710         90,705,174

              Right-of-use asset, net of current portion                                 -                  613,124
              Property and equipment, net                                            559,537                 61,658
              Security deposits                                                      420,888                  4,275
              Restricted cash                                                        238,001                238,001
                 Total assets                                                  $ 463,756,136        $    91,622,232

                                         LIABILITIES AND STOCKHOLDER'S EQUITY
             Current liabilities
              Accounts payable                                      $     8,072,332                 $       856,186
              Accrued expenses                                            3,646,085                         712,773
              Deferred revenue                                              398,836                         312,393
              Due to Parent                                               3,342,632                      16,454,045
              Due to Binance Holdings Limited                            11,509,147                         554,500
              Customer funds payable                                    264,032,738                      66,749,710
              Lease liability, current portion                              651,438                         435,008
                  Total current liabilities                             291,653,208                      86,074,615

              Customer deposits                                                        1,426,450          1,301,450
              Deferred income tax liability                                           17,500,572                  -
              Lease liability, net of current portion                                          -            651,439
               Total liabilities                                                     310,580,230         88,027,504

             Commitments and contingencies (Note 9)

             Stockholder's equity
               Common stock, $0.00001 par value, 10,000,000 shares
               authorized; 7,500,000 shares issued and outstanding                        75                     75
               Additional paid-in capital                                          6,675,013              6,675,013
               Stockholder receivable                                                    (75)                   (75)
               Accumulated equity (deficit)                                      146,500,893             (3,080,285)
                 Total stockholder's equity                                      153,175,906              3,594,728
             Total liabilities and stockholder's equity                        $ 463,756,136        $    91,622,232




                               The accompanying notes are integral part of these financial statements.
                                                                3
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                           BTS00833768
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                                                   BAM Trading Services Inc.
                                                    Statements of Operations
                                        For the Years Ended December 31, 2021 and 2020




                                                                            2021                            2020

            Revenue                                                   $ 265,850,337                     $   11,002,836

            Cost of revenue                                               118,671,366                        5,650,419

            Gross profit                                                  147,178,971                        5,352,417

            Operating expenses                                             84,421,617                        8,711,292

            Operating income (loss)                                        62,757,354                       (3,358,875)

            Other income
             Gain on digital assets                                       137,068,243                        2,979,333
             Total other income                                           137,068,243                        2,979,333

            Income (loss) before provision for income taxes               199,825,597                         (379,542)

              Provision for income taxes                                   50,244,419                          19,346

            Net income (loss)                                         $ 149,581,178                     $     (398,888)




                              The accompanying notes are integral part of these financial statements.
                                                               4
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                              BTS00833769
                                                                                                   BAM Trading Services Inc.
                                                                                               Statements of Stockholder's Equity
                                                                                       For the Years Ended December 31, 2021 and 2020




                                                                               Common Stock             Additional Paid-In      Stockholder's       Accumulated
                                                                              Shares    Amount               Capital              Receivable       Equity (Deficit)       Total
                                               Balance, January 1, 2020         1,000    $  -           $      6,675,013        $            -     $ (2,681,397)      $   3,993,616

                                               Issuance of common stock in
                                               exchange for stockholder's




FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM
                                               receivable                    7,499,000           75                     -                 (75)                  -                 -
                                               Net loss                              -            -                     -                   -            (398,888)         (398,888)
                                               Balance, December 31, 2020    7,500,000           75             6,675,013                 (75)         (3,080,285)        3,594,728

                                               Net income                            -            -                     -                   -        149,581,178        149,581,178
                                               Balance, December 31, 2021    7,500,000       $   75      $      6,675,013       $         (75)     $ 146,500,893      $ 153,175,906
                                                                                                                                                                                       Case 1:23-cv-01599 Document 22 Filed 06/07/23 Page 17 of 59




BTS00833770
                                                                             The accompanying notes are integral part of these financial statements.
                                                                                                              5
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                                                           BAM Trading Services Inc.
                                                            Statements of Cash Flows
                                                For the Years Ended December 31, 2021 and 2020



                                                                                                      2021               2020
         Cash flows from operating activities
          Net income (loss)                                                                      $    149,581,178    $      (398,888)
          Adjustments to reconcile net income (loss) to net cash used in operating activities:

             Depreciation and amortization                                                                 95,785             17,890
             Provision for transaction losses                                                           1,460,834            178,001
             Gain on digital assets                                                                  (137,068,243)        (2,979,333)
             Digital assets received as revenue                                                      (170,354,675)        (9,407,432)
             Digital assets payments for expenses                                                      30,605,239          1,141,045
             Non-cash lease expense                                                                        13,740             24,574
               Deferred income tax liability                                                           17,500,572                -
             Changes in operating assets and liabilities
               Prepaid expenses and other current assets                                               (7,286,258)          (999,065)
               Income tax receivable                                                                   (8,839,040)               -
               Customer funds receivable                                                              (10,951,853)        (2,301,060)
               Accounts payable                                                                         7,216,146            716,480
               Accrued expenses                                                                         1,472,478            239,672
               Deferred revenue                                                                            86,443            312,393
               Due to Parent                                                                          (13,111,413)        16,157,586
               Due to Binance Holdings Ltd                                                             10,954,647            554,500
               Customer funds payable                                                                 197,283,028         60,531,828
               Customer deposits                                                                          125,000          1,301,450
         Net cash provided by operating activities                                                     68,783,609         65,089,641

         Cash flows from investing activities
          Purchase of property and equipment                                                             (593,664)           (62,907)
          Security deposits                                                                              (416,613)             9,420
          Proceeds from sale of digital assets                                                        132,095,465          4,263,354
         Net cash provided by investing activities                                                    131,085,188          4,209,867

         Net increase in cash and cash equivalents and restricted cash                                199,868,797         69,299,508

           Cash and cash equivalents and restricted cash, beginning of period                          79,583,652         10,284,144
           Cash and cash equivalents and restricted cash, end of period                          $    279,452,449    $    79,583,652


           Cash and cash equivalents and restricted cash consisted of the following:
            Cash and cash equivalents                                                            $     28,613,940    $    15,076,318
             Restricted cash                                                                             238,001            238,001
             Customer custodial funds                                                                250,600,508         64,269,333
                                                                                                 $   279,452,449     $   79,583,652

                                          Supplemental disclosures of cash flow information
           Cash paid for income taxes                                                 $     34,465,308               $       3,870
           Operating cash outflows for amounts included in the measurement of         $        448,678               $     435,610
           operating lease liabilities

                                  Supplemental schedule of noncash investing and financing transactions
         Right-of-use assets obtained in exchange for lease liabilities                 $             -              $    1,505,425
         Issuance of stock in exchange for stockholder receivable                       $             -              $           75

                                     The accompanying notes are integral part of these financial statements.
                                                                      6
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                            BTS00833771
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                                                BAM Trading Services Inc.
                                               Notes to Financial Statements
                                               December 31, 2021 and 2020

        1. NATURE OF OPERATIONS

            BAM Trading Services Inc. (the "Company" or "BAM Trading"), a Delaware corporation, commenced
            operations on February 4, 2019 ("inception") and is headquartered in San Francisco, California. The
            Company is a wholly-owned subsidiary of BAM Management US Holdings Inc. (the "Parent").

            In September 2019, the Company launched Binance.US, a digital asset trading platform for the United
            States market, through a licensing arrangement with Binance Holdings Limited, which operates a global
            digital asset trading platform under the name Binance.com (see Note 9). Binance.US is powered by
            matching engine and wallet technologies licensed from Binance Holdings Limited and provides secure
            and reliable digital asset trading and a hosted wallet service to its users. As of December 31, 2021,
            Binance.US supported 77 digital assets and 135 trading pairs, with plans for adding more digital assets in
            the future.


        2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

            Basis of accounting and financial statement presentation

            The Company's financial statements have been prepared using accounting principles generally accepted
            in the United States of America ("U.S. GAAP"). The accompanying financial statements include
            transactions between the Company and its Parent (see Note 9).

            Risks and uncertainties

            The Company's future results of operations involve a number of risks and uncertainties that could have a
            material adverse affect on its business, prospects, financial condition, cash flows, liquidity and results of
            operations. The risk factors set forth below are cautionary statements identifying important factors that
            could cause our actual results for various financial reporting periods to differ materially from those
            expressed in any forward-looking statements made by or on the Company's behalf.

            The Company's business is dependent on the availability and use of digital assets, and their respective
            protocol networks. Although many governments have begun to license or have otherwise announced their
            intention to regulate digital asset businesses, digital assets are not currently considered legal tender in
            most jurisdictions worldwide, including the United States.

            Federal, state or local governments may restrict the use and exchange of digital assets in the future. There
            is also uncertainty regarding the current and future accounting, tax, and legal treatment, as well as
            regulatory requirements relating to digital assets or transactions utilizing digital assets. There is currently
            no authoritative guidance on the accounting for digital assets. Governmental regulations, or any adverse
            accounting, tax, legal or regulatory treatment of digital assets or transactions could materially and
            adversely affect the manner in which the Company conducts its business and could result in heightened
            regulation, oversight, increased costs and potential litigation.




                                                                7
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                  BTS00833772
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                                                 BAM Trading Services Inc.
                                                Notes to Financial Statements
                                                December 31, 2021 and 2020

          2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

              Risks and uncertainties (continued)

              Digital assets and their respective protocol networks are exposed to risks due to fraud, technological
              glitches, hackers or malware and various law enforcement and regulatory interventions. The loss of digital
              assets, the Company's ability to manage fraud, or the application of new laws and regulations, could
              materially and adversely, affect its reputation, business, financial condition, prospects, liquidity, and/or
              results of operations.

              The Company's revenues are primarily derived from transaction fees on sales and purchases of digital
              assets. The market price of digital assets has been and may continue to be volatile, which could materially
              and adversely affect the Company's results of operations.

              On March 11, 2020, the World Health Organization declared the novel strain of coronavirus ("COVID-
              19") a global pandemic and recommended containment and mitigation measures worldwide. The COVID-
              19 outbreak in the United States has caused business disruption through mandated and voluntary closings
              of business and shelter in place orders. There is considerable uncertainty around the duration of the
              closings and shelter in place orders. For the years ended December 31, 2021 and 2020 and through the
              date the financial statements were available to be issued, the Company has experienced minimal
              operational effects due to being a decentralized software platform in a decentralized market. However,
              due to the widespread uncertainty over the macroeconomic factors and sovereign monetary policies which
              could impact consumer demand for our services, the financial impact cannot be reasonably estimated at
              this time.

              Use of estimates

              The preparation of financial statements in accordance with U.S. GAAP requires management to make
              estimates and assumptions that affect the reported amounts of assets and liabilities, disclosures of
              contingent assets and liabilities at the date of the financial statements, and the reported amounts of
              revenues and expenses during the reporting periods. These estimates include, but are not limited to, useful
              lives of property and equipment, valuation of digital assets, determination of the Company's incremental
              borrowing rate, provision for transaction losses, reserves against receivables, and accounting for income
              taxes. To the extent that there are material differences between these estimates and results, the Company's
              financial statements will be affected.

              Reclassifications

              As a result of changes in presentation, certain prior year amounts have been reclassified to conform to the
              current presentation. These reclassifications had no effect on the reported results of operations.

              Cost of revenue

              Cost of revenue includes direct costs related to revenue recognition, such as crypto trading network fee,
              fiat rail fees, royalty, ACH and debit card return charges, web hosting and compliance costs.




                                                                8
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                             BTS00833773
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                                                  BAM Trading Services Inc.
                                                 Notes to Financial Statements
                                                 December 31, 2021 and 2020

          2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

              Advertising cost

              The Company expenses advertising and marketing expenses as incurred. Marketing and advertising
              include general marketing, digital marketing, referral, swags and public relations agency fees.

              Cash and cash equivalents

              The Company considers all highly liquid financial instruments purchased and cash on hand that is not
              restricted as to withdrawal with original maturities of three months or less to be cash and cash equivalents.
              Cash and cash equivalents excludes customer legal tender, which is reported separately as customer
              custodial funds in the accompanying balance sheets.

              Restricted cash

              The Company has restricted cash deposits at a financial institution related to an irrevocable standby letter
              of credit in connection with an office lease arrangement.

              Digital assets held

              The Company enters into transactions with users that are denominated in digital assets and earns
              transaction fee revenue denominated in digitals assets which it holds in inventory. The Company assigns
              costs to digital asset transactions in its inventory on a first-in, first-out basis. The Company does not hold
              digital assets for speculative purposes.

              As of December 31, 2021 and 2020, all Company owned digital assets were held in custody accounts with
              Binance Holdings Limited (see Note 9). The Company accounts for its digital assets held under custody
              with Binance Holdings Limited as receivables, which is presented as digital assets in the accompanying
              balance sheets. The Company initially records digital asset receipts at cost and subsequently marks its
              digital asset holdings (that have an active market) to market at each reporting date. Current fair value is
              determined based on quoted market exchange prices as of the reporting date. Unrealized gains and losses
              arising from changes in the fair value of digital assets, as well as gains and losses realized from differences
              in prices in which digital assets are purchased compared to digital assets sold, are recognized net, in gain
              on digital assets in the accompanying statements of operations.

              For the years ended December 31, 2021 and 2020, the Company recognized a net unrealized gain of
              $76,882,152 and $1,441,435 related to digital assets held, respectively. For the years ended December 31,
              2021 and 2020, the Company recognized a net realized gain of $60,186,091 and $1,537,898 related to the
              liquidation of digital assets, respectively.

              Customer custodial funds, Customer funds receivable and Customer funds payable

              Customer custodial funds represent cash and cash equivalents held in Company controlled bank accounts
              that are held for the exclusive benefit of customers.




                                                                  9
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                BTS00833774
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                                                  BAM Trading Services Inc.
                                                 Notes to Financial Statements
                                                 December 31, 2021 and 2020

          2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

              Customer custodial funds, Customer funds receivable and Customer funds payable

              Customer funds receivable consist of funds advanced to customer accounts upon initiation of an ACH or
              debit card deposit and arise due to the time it takes to settle the deposit. Customer funds receivable are
              typically received within one or two business days of the transaction date. The Company establishes limits
              on withdrawals in order to mitigate potential losses by preventing customers from withdrawing the digital
              asset to an external blockchain address until the payment settles.

              Customer funds payable represent unsettled withdrawals, which arise due to the time it takes to settle a
              customer sell transaction. When a customer sells digital assets using their bank account or internal
              payment method, there is a clearing period before the cash is settled. These funds are treated as a payable
              until the clearing period closes. During this clearing period, the associated legal tender held by the
              Company is segregated from Company-owned funds and separately classified as customer funds payable
              in the accompanying balance sheets.

              Leases

              In February 2016, the Financial Accounting Standards Board issued Accounting Standard Update 2016-
              02, Leases, ("ASU 2016-02") in order to increase transparency and comparability among organizations
              by recognizing lease assets and lease liabilities on the balance sheet for those leases classified as operating
              leases under prior generally accepted accounting principles. ASU 2016-02 requires that a lessee should
              recognize a liability to make lease payments (the lease liability) and a right-of-use asset representing its
              right to use the underlying asset for the lease term on the balance sheet.

              The Company adopted ASU 2016-02 on January 1, 2020, using the modified retrospective method,
              resulting in the recognition of right-of-use assets of approximately $1.0 million and lease liabilities for
              operating leases of approximately $1.0 million on the Company's balance sheet, with no impact to its
              statement of operations. The Company did not elect to apply the hindsight practical expedient when
              determining lease term and assessing impairment of right-of use assets.

              The Company determines if an arrangement is a lease at inception. For leases where the Company is the
              lessee, right-of-use ("ROU") assets represent the Company's right to use the underlying asset for the term
              of the lease and the lease liabilities represent an obligation to make lease payments arising from the lease.
              Lease liabilities are recognized at the lease commencement date based on the present value of the future
              lease payments over the lease term. Most leases do not provide an implicit rate, so the Company uses its
              incremental borrowing rate based on the information available at the commencement date of the
              underlying lease arrangement to determine the present value of lease payments. The ROU asset is
              determined based on the lease liability initially established and reduced for any prepaid lease payments
              and any lease incentives received. The lease term to calculate the ROU asset and related lease liability
              includes options to extend or terminate the lease when it is reasonably certain that the Company will
              exercise the option. The Company's lease agreements generally do not contain any material variable lease
              payments, residual value guarantees or restrictive covenants.




                                                                 10
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                BTS00833775
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                                                  BAM Trading Services Inc.
                                                 Notes to Financial Statements
                                                 December 31, 2021 and 2020

          2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

              Leases (continued)

              The Company has made the policy election to account for short-term leases by recognizing the lease
              payments in the statements of operations on a straight-line basis over the lease term and not recognizing
              these leases on the Company's balance sheets.

              Lease expense for operating leases is recognized on a straight-line basis over the lease term as an operating
              expense while expense for financing leases is recognized as depreciation expense and interest expense
              using the accelerated interest method of recognition. The Company accounts for lease components and
              non-lease components as a single lease component.

              Property and equipment

              Property and equipment are stated at cost, less accumulated depreciation.

              Depreciation of property and equipment is computed using the straight-line method over the following
              estimated useful lives:

                  Computer equipment                              3 years
                  Furniture and fixtures                          5 years
                  Leasehold improvements                          Lesser of 5 years or lease term
                  Software                                        3 years

              Expenditures for repairs and maintenance are expensed as incurred. Upon disposition, the cost and related
              accumulated depreciation are removed from the accounts, and the resulting gain or loss is recognized or
              charged to other income in the accompanying statements of operations.

              Impairment of long-lived assets

              The Company evaluates the carrying value of long-lived assets, including right-of-use assets, on an annual
              basis, or more frequently whenever the circumstances indicate a long-lived asset may be impaired. When
              indicators of impairment exist, the Company estimates future undiscounted cash flows attributable to such
              assets. In the event cash flows are not expected to be sufficient to recover the recorded value of the assets,
              the assets are written down to their estimated fair value. There were no asset impairments for the years
              ended December 31, 2021 and 2020.

              Fair value measurements

              The Company applies fair value accounting for all digital and financial assets and liabilities. The Company
              defines fair value as the price that would be received from selling an asset or paid to transfer a liability in
              an orderly transaction between market participants at the measurement date. Fair value is estimated by
              applying the following hierarchy, which prioritizes the inputs used to measure fair value into three levels
              and bases the categorization within the hierarchy upon the lowest level of input that is available and
              significant to the fair value measurement:




                                                                 11
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                BTS00833776
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                                                  BAM Trading Services Inc.
                                                 Notes to Financial Statements
                                                 December 31, 2021 and 2020

          2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

              Fair value measurements (continued)

                      Level 1 - Unadjusted quoted prices in active markets that are accessible at the measurement date
                      for identical, unrestricted assets or liabilities.
                      Level 2 - Observable inputs other than quoted prices in active markets for identical assets and
                      liabilities, quoted prices for identical or similar assets or liabilities in inactive markets, or their
                      inputs that are observable or can be corroborated by observable market data for substantially the
                      full term of the assets or liabilities.
                      Level 3 - Inputs that are generally unobservable and typically reflect management's estimate of
                      assumptions that market participants would use in pricing the asset or liability.

              The fair value of digital asset denominated assets and liabilities are based on published exchange rates,
              which are determined to be "Level 1" inputs, as the digital assets are traded in active exchange markets.
              The Company monitors the exchange rates against various third-party exchanges.

              Revenue recognition

              The Company recognizes revenue when it transfers control of promised goods or services to its customers
              in an amount that reflects the consideration to which it expects to be entitled to in exchange for those
              goods or services. The Company uses the following steps to determine revenue recognition:

                      Identification of the contract, or contracts, with the customer
                      Identification of the performance obligations in the contract
                      Determination of the transaction price
                      Allocation of the transaction price to the performance obligations in the contract
                      Recognition of the revenue when, or as, the Company satisfies a performance obligation

              The Company derives revenue from various digital asset transaction services. The Company derives a
              majority of its revenue from exchange transactions, where users can buy, sell or convert digital assets on
              the platform for an exchange service fee. The Company also derives revenue from deposit fees when
              customers use credit cards to deposit funds into their platform account and withdrawals fees when a
              customer requests a transfer of their funds out of their platform account. Fees are charged at the transaction
              level and represents a single performance obligation. The Company has determined it is an agent in the
              transaction between customers and presents revenue for the fees earned on a net basis. This determination
              required judgment and was based on the fact that the Company does not control the digital asset being
              provided before it is transferred to the buyer, does not have inventory risk related to the digital asset and
              does not set the price for the digital asset as the price is a market rate established by the platform.

              The Company considers its performance obligation satisfied, and recognizes revenue, at the point in time
              the transaction is processed, which is either upon the transfer of the digital assets to the customer, receipt
              of digital assets purchased from the customer, or transfer of funds on or off the platform.




                                                                 12
FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                BTS00833777
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                                                  BAM Trading Services Inc.
                                                 Notes to Financial Statements
                                                 December 31, 2021 and 2020

          2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

              Revenue recognition (continued)

              Digital asset transactions occur in multiple time zones, some of which differ from the time zone of the
              Company's headquarter location. The Company uses coordinated universal time ("UTC") as time basis
              for revenue recognition cut-off.

              From time to time, the Company enters into arrangements with token partners for inclusion of the partner's
              token onto the Company's platform. These arrangements generally include a technical integration fee
              ("TIF") and a marketing fee which are deemed to be distinct performance obligations. Fees are due up
              front and are not refundable. The transaction price is allocated between these performance obligations
              using the standalone selling price. TIF revenue is recognized on the date the token becomes available for
              trading on the Company's platform. Marketing fees are recognized as the related fees are consumed in
              marketing campaigns. The Company also requires a refundable deposit from the token partners which is
              not considered a component of the transaction price and is recorded as customer deposit in the
              accompanying balance sheets.

              Deferred revenue

              Deferred revenue reflects the amount received from token partners in advance of revenue recognition and
              is recognized when all revenue recognition criteria are met. The Company's deferred revenue as of
              December 31, 2021 and 2020 consists of marketing fees that have not yet been delivered.

              Transaction losses

              The Company is exposed to losses primarily due to fraudulent payment methods used to purchase digital
              assets. The Company establishes a provision for estimated losses incurred as of the reporting date,
              including those of which the Company has not yet been notified. The estimate is based on historical loss
              payment patterns. The Company recorded a provision for transaction losses of $1,708,835 and $248,001
              as of December 31, 2021 and 2020, respectively, which is included in accrued expenses in the
              accompanying balance sheets.

              Income taxes

              The Company accounts for income taxes using the asset and liability method whereby deferred tax asset
              and liability account balances are determined based on temporary differences between the financial
              statement and tax bases of assets and liabilities using enacted tax rates in effect for the year in which the
              differences are expected to affect taxable income. A valuation allowance is established when management
              estimates that it is more likely than not that deferred tax assets will not be realized. Realization of deferred
              tax assets is dependent upon future pretax earnings, the reversal of temporary differences between book
              and tax income, and the expected tax rates in future periods. The effect of a change in tax rates on deferred
              tax assets and liabilities is recognized in income in the period that includes the enactment date. In making
              such a determination, management considers all available positive and negative evidence, including future
              reversals of existing taxable temporary differences, projected future taxable income, tax planning
              strategies, and results of recent operations. If management determines that the Company would be able to
              realize its deferred tax assets in the future in excess of their net recorded amount, the Company would
              make an




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FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                                 BTS00833778
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                                                 BAM Trading Services Inc.
                                                Notes to Financial Statements
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        2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

            Income taxes (continued)

            adjustment to the deferred tax asset valuation allowance, which would reduce the provision for income
            taxes.

            The Company is required to evaluate the tax positions taken in the course of preparing its tax returns to
            determine whether tax positions are more likely than not of being sustained by the applicable tax authority.
            Tax benefits of positions not deemed to meet the "more-likely-than-not" threshold would be recorded as
            a tax expense in the current year. The amount recognized is subject to estimate and management judgment
            with respect to the likely outcome of each uncertain tax position. The amount that is ultimately sustained
            for an individual uncertain tax position or for all uncertain tax positions in the aggregate could differ from
            the amount that is initially recognized. It is the Company's practice to recognize interest and penalties
            related to income tax matters in income tax expense.

            For federal tax purposes, digital asset transactions are treated on the same tax principles as property
            transactions. The Company recognizes a gain or loss when digital assets are exchanged for other property,
            in the amount of the difference between the fair market value of the property received and the tax basis in
            the digital asset. Receipts of digital assets in exchange for goods or services are included in taxable income
            at the fair market value on the date of receipt.

            Concentration of credit risk

            Financial instruments that potentially subject the Company to a concentration of credit risk consist of cash
            and cash equivalents, restricted cash and customer custodial funds. Cash and cash equivalents, restricted
            cash and customer custodial funds are deposited at high quality financial institutions. Periodically, such
            balances may be in excess of federally insured limits. To date, the Company has not incurred any losses
            on its deposits of cash and cash equivalents, restricted cash or customer custodial funds.


        3. FAIR VALUE MEASUREMENTS

            The following table sets forth by level, within the fair value hierarchy,
            fair value on a recurring basis as of December 31, 2021:

                                                Level 1         Level 2        Level 3           Fair Value
            Digital assets held             $ 151,840,798      $      -       $      -       $ 151,840,798



            fair value on a recurring basis as of December 31, 2020:

                                                Level 1         Level 2        Level 3           Fair Value
            Digital assets held             $    7,118,585     $      -       $      -       $     7,118,585




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                                                BAM Trading Services Inc.
                                               Notes to Financial Statements
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         4. PROPERTY AND EQUIPMENT, NET

             Property and equipment, net consisted of the following as of December 31:

                                                                         2021                 2020
                        Computer equipment                         $       232,669       $         4,446
                        Furniture and fixtures                              26,190                 6,519
                        Leasehold improvements                              15,203                   974
                        Software                                           149,363                 2,145
                                                                           423,425                14,084
                        Less: accumulated depreciation                     216,110                19,245
                                                                   $       639,535       $        33,329


             Depreciation expense was $95,785 and $17,890 for the years ended December 31, 2021 and 2020,
             respectively.


         5. ACCRUED EXPENSES

             Accrued expenses consisted of the following as of December 31:

                                                                        2021                  2020
                       Accrued legal expenses                      $     1,554,571      $       415,877
                       Accrued risk and compliance expenses                293,093                    -
                       Provision for transaction losses                  1,708,835              248,001
                       State income taxes payable                                -               20,396
                       Credit card payables                                 29,095               28,498
                       Other                                                60,491                    1
                                                                   $     3,646,085      $       712,773



         6. COMMITMENTS AND CONTINGENCIES

             Customer digital asset wallets

             Under a Wallet Custody Agreement (see Note 9), Binance Holdings Limited ("BHL") has custody and
             control of customers' private keys, or components to cryptographic signatures necessary to transfer
             associated customer digital assets. For security reasons, BHL uses consolidated addresses to pool
             customer digital assets but maintains separate ledger entries to designate each customer's digital asset
             balance.

             The Company has committed to securely store all digital assets it holds on behalf of customers. As such,
             the Company may be liable to its customers for losses arising from theft or loss of customer private keys.




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FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                          BTS00833780
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                                                   BAM Trading Services Inc.
                                                  Notes to Financial Statements
                                                  December 31, 2021 and 2020

          6. COMMITMENTS AND CONTINGENCIES (continued)

              The Company has no reason to believe it will incur any expense associated with such potential liability
              because (i) the Company has no known or historical experience of claims to use as a basis of measurement,
              (ii) BHL accounts for and continually verifies the amount of digital assets within its control, and such
              verification is subject to audit by the Company under the terms of the Wallet Custody Agreement, (iii)
              BHL has established security around custodial private keys to minimize the risk of theft or loss, and (iv)
              the aforementioned Wallet Custody Agreement with BHL contains an indemnification provision that
              provides for indemnification of the Company for any losses as a result of BHL breach of duty. Therefore,
              the Company has not recorded a liability as of December 31, 2021 and 2020 for such potential losses. As
              of December 31, 2021 and 2020, the aggregate U.S. Dollar value of digital assets held in customer wallets
              was $6,432.4 million and $704.9 million, respectively.

              Leases

              In November 2019, the Company entered into an operating lease agreement for office space in San
              Francisco, California. The lease commenced in January 2020 and expires in May 2023. The monthly base
              rent under the lease agreement is approximately $36,300 for the first year and increases by 3% annually
              thereafter over the lease term. The discount rate for the Company's operating lease was 1.54%. The
              Company also leases office space under month-to-month lease arrangements.

              The table below presents the Company's right-of-use assets and lease liabilities as of December 31:

                                                                                2021               2020
                         Right-of-use assets:
                         Right-of-use assets, current portion        $               613,124   $     448,749
                         Right-of-use assets, net of current portion                       -         613,124
                                                                     $               613,124   $   1,061,873

                         Lease liabilities:
                         Lease liabilities, current portion                $         651,438   $     435,008
                         Lease liabilities, net of current portion                         -         651,439
                                                                           $         651,438   $   1,086,447


              The scheduled minimum lease payments under the lease terms are as follows:

              Year ending December 31,
                                 2022                        $            660,473
                                 2023                                           -
              Less: imputed interest                                       (9,035)
              Present value of lease liability               $            651,438




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FOIA CONFIDENTIAL TREATMENT REQUESTED BY BAM                                                                           BTS00833781
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                                                BAM Trading Services Inc.
                                               Notes to Financial Statements
                                               December 31, 2021 and 2020

          6. COMMITMENTS AND CONTINGENCIES (continued)

             Leases (continued)

             The components of lease costs were as follows for the years ended December 31:


                                                                2021                  2020
              Operating lease costs                       $        452,125      $       452,125
              Short-term lease costs                               681,328               42,970
                                                          $      1,133,453      $       495,095


             Legal proceedings

             The Company is subject to various legal proceedings and claims arising in the ordinary course of business.
             Although occasional adverse decisions or settlements may occur, management believes that the final
             disposition of such matters will not have a material adverse effect on the Company's business, financial
             position, results of operations or cash flows. The Company is not aware of any existing or threatened
             proceedings or claims that could have a material impact on its financial position or results of operations.


          7. STOCKHOLDER'S EQUITY

             The Company is authorized to issue up to 10,000,000 shares of common stock, with a par value of
             $0.00001 per share. As of December 31, 2021 and 2020, 7,500,000 shares of authorized common stock
             were issued and outstanding to the Parent.


          8. INCOME TAXES

             The Company and its Parent, together with other affiliated group members of the Parent, authorized and
             consented to be included in a consolidated income tax return for federal (United States) income tax return
             reporting purposes; and, report combined corporate tax liability on a single return. In addition, the Parent
             and its wholly-owned subsidiaries, including BAM Trading, are subject to unitary combined
             income/franchise tax reporting requirements in certain state jurisdictions. BAM Trading may be required
             to file separate state corporation tax returns in jurisdictions that require such separate filings, including
             those jurisdictions where the Company may be subject to market-based sourcing rules or regulatory or
             state registration requirements.

             Generally, the amount of current and deferred tax expense for an income tax return group that files a
             consolidated income tax return is allocated among the members of that group when those members issue
             separate financial statements but does not establish a mandatory method of allocation. BAM Trading is
             not subject to a tax sharing agreement with its Parent or any affiliated company. The Company elected to
             compute its federal state and local income tax provisions as if it was a separate taxpayer. Under this
             method, the sum of the amounts allocated to individual members of the income tax return group may not
             equal the consolidated amount.




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                                                BAM Trading Services Inc.
                                               Notes to Financial Statements
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        8. INCOME TAXES (continued)
            The provision for income taxes consisted of the following for the years ended December 31:
                                                                     2021                      2020
                        Current:
                         Federal                                $ 25,745,097               $      19,346
                         State                                     6,998,750                         -
                          Total                                   32,743,847                      19,346

                        Deferred:
                         Federal                                    14,313,993                        -
                         State                                       3,186,579                        -
                          Total                                     17,500,572                        -

                           Total provision for income taxes     $ 50,244,419               $      19,346



            Significant components of the Company's deferred income tax assets and liabilities are as follows as of
            December 31, 2021:
                                                                     2021                    2020
                           Net operating losses                 $          -               $   330,658
                           Unrealized gain on digital assets               -                   346,937
                           Lease liability                            148,531                  255,581
                           Other                                    1,546,494                   78,350
                            Total current                           1,695,025                1,011,526
                           Valuation allowance                             -                 (735,430)

                           Property and equipment                     (68,412)                  (14,600)
                           Unrealized loss on digital assets      (18,969,372)                        -
                                                                     (157,813)                 (261,496)
                             Total deferred tax liabilities       (19,195,597)                 (276,096)
                             Total net deferred tax asset       $ (17,500,572)             $            -


            The effective income tax rate differs from the statutory federal income tax rate as follows for the years
            ended December 31:

                                                                    2021                       2020

                         Tax at federal statutory rate                  21.0 %                     21.0 %
                         State taxes, net of federal benefit              4.1                       3.2
                         Other permanent items                            0.4                      (1.0)
                         Change in valuation allowance                   (0.4)                    (28.3)
                                                                        25.1 %                     (5.1) %



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                                                 BAM Trading Services Inc.
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        8.   INCOME TAXES (continued)

             Management assesses all available positive and negative evidence to estimate whether sufficient future
             taxable income will be generated to permit use of the existing deferred tax assets. Primarily based upon
             historical results of operations, estimates of future taxable income and positive evidence in the form of
             cumulative losses no longer being present and additional weight given to subjective evidence such as our
             projections for growth, we believe our deferred tax assets are realizable on a more likely than not basis
             resulting in a $954,000 recognized tax benefit and reduction to the valuation allowance reduction.

             At December 31, 2021 the differences between income taxes expected at the U.S. Federal statutory income
             tax rate of 21% and the reported income tax expense are primarily related to state taxes, net of federal
             benefit, federal income tax withholding accrual, various permanent items, and a release of federal and
             state valuation allowances. At December 31, 2020, the differences between income taxes expected at the
             U.S. Federal statutory income tax rate of 21% and the reported income tax expense are primarily related
             to state taxes, net of federal benefit, various permanent items, and change in federal and state valuation
             allowances.


             tax measures, provides for a three-year suspension of the use of NOLs for medium and large businesses
             and a three-year limit on the use of business incentive tax credits to offset no more than $5 million of tax
             per year. The three-year term was subsequently revised to a two-year term and has been accounted for in
                             deferred tax assets.

             The Company and its affiliates are computing their respective tax obligation on a stand-alone basis. The
             Company, together with its Parent and an affiliate company, files U.S. Corporation federal, and state
             income and franchise tax returns in jurisdictions with varying statutes of limitations. Currently these
             statutes of limitations are open from 2019 forward for the U.S. and various states. As of December 31,
             2021, the Company has a state net operating losses of approximately $1,420,000 on a stand-alone basis.
             The state net operating loss carryforwards, if not utilized, expires in 2039. All filing statutes are open and
             the Company is currently not under audit.

             As of December 31, 2021, the Company had no unrecognized tax benefits. The Company does not expect
             any material changes to its unrecognized tax benefits within the next twelve months. As a result, the
             Company did not recognize interest and penalties related to uncertain tax positions as a component of
             income tax expense.

             The Company's transactions with a related foreign affiliate are subject to transfer pricing considerations.
             Generally, a transfer price is the price charged between related parties in an intercompany transaction.
             Transfer prices affect the allocation of taxable income across national tax jurisdictions. The Company is
             currently in the process of conducting its United States transfer pricing study (the "Study") with respect
             to its foreign affiliates' intercompany transactions. The Company expects to complete its Study for the
             initial year of operations on or before the extended due date of the U.S. corporation income tax return.
             The results of the Study, based on its initial estimates, are not expected to have significant or material
             impact on the initial year of operations.




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                                             BAM Trading Services Inc.
                                            Notes to Financial Statements
                                            December 31, 2021 and 2020

      9. RELATED PARTY TRANSACTIONS

          The Company receives advances from and makes payments on behalf of the Parent in the ordinary course
          of business. These payments made on behalf of the Company's Parent result in intercompany receivables
          and payables. As of December 31, 2021 and 2020, the unsettled intercompany payables Due to Parent
          was $1,289,892 and $16,454,045, respectively.

          The Company has entered into certain agreements with BHL, an entity which is affiliated with the
          Company's sole shareholder. The agreements relate to the licensing and support of services as follows:

                  Software License Agreement - Whereas BHL owns a digital currency trading platform which it
                  operates in multiple countries, BHL has granted the Company a worldwide, nonexclusive,
                  perpetual, irrevocable, non-transferable, fully paid-up, royalty-free license to the licensed
                  software in order to allow the Company to operate a digital currency trading platform in the U.S.
                  market.
                  Master Services Agreement - This agreement dictates the terms of use and access in relation to
                  the licensed software. Additionally, it denotes the hosting and support services which will be
                  offered by BHL to the Company and the Company's end users as well as the development and
                  implementation of Company specific enhancements.
                  Trademark License Agreement - BHL has granted the Company a nonexclusive, non transferable,
                  non-sublicensable, perpetual, irrevocable, royalty-free, fully paid-up, worldwide license to use
                  certain trademarks owned by BHL.
                  Wallet Custody Agreement - The Company selected BHL to serve as a custodian to the Company
                  with respect to the digital assets in any custody account. This agreement specifies the terms of the
                  relationship the Company will have with the custodian.

          In accordance with the terms of these agreements, for the years ended December 31, 2021 and 2020, the
          Company incurred expenses totaling $10,954,647 and $554,500, respectively, which is included in cost
          of revenue in the accompanying statements of operations and had a payable due to BHL of $11,509,147
          and $554,500 as of December 31, 2021 and 2020, respectively.


      10. SUBSEQUENT EVENTS

          The Company has evaluated subsequent events through March 3 , 2022, the date the financial statements
          were available to be issued.




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     BAM Trading Services Inc.
     Financial Statements and Independent Auditor’s Report

     December 31, 2022




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BAM Trading Services Inc.
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                                                       INDEPENDENT AUDITOR’S REPORT


    To the Board of Directors of
    BAM Trading Services Inc. d/b/a Binance.US

    Opinion
    We have audited the accompanying financial statements of BAM Trading Services Inc. d/b/a Binance.US (the “Company”), which
    comprise the balance sheet as of December 31, 2022, and the related statements of operations, stockholder’s equity, and cash
    flows for the year then ended, and the related notes to the financial statements.

    In our opinion, the financial statements referred to above present fairly, in all material respects, the financial position of the
    Company as of December 31, 2022, and the results of its operations and its cash flows for the year then ended in accordance
    with accounting principles generally accepted in the United States of America.

    Basis for Opinion
    We conducted our audit in accordance with auditing standards generally accepted in the United States of America. Our
    responsibilities under those standards are further described in the Auditor’s Responsibilities for the Audit of the Financial
    Statements section of our report. We are required to be independent of the Company and to meet our other ethical
    responsibilities in accordance with the relevant ethical requirements relating to our audit. We believe that the audit evidence
    we have obtained is sufficient and appropriate to provide a basis for our audit opinion.

    Responsibilities of Management for the Financial Statements
    Management is responsible for the preparation and fair presentation of the financial statements in accordance with accounting
    principles generally accepted in the United States of America, and for the design, implementation, and maintenance of internal
    control relevant to the preparation and fair presentation of financial statements that are free from material misstatement,
    whether due to fraud or error.

    In preparing the financial statements, management is required to evaluate whether there are conditions or events considered in
    the aggregate, that raise substantial doubt about the Company’s ability to continue as a going concern within one year after the
    date that the financial statements are available to be issued.

    Auditor's Responsibilities for the Audit of the Financial Statements
    Our objectives are to obtain reasonable assurance about whether the financial statements as a whole are free from material
    misstatement, whether due to fraud or error, and to issue an auditor’s report that includes our opinion. Reasonable assurance
    is a high level of assurance but is not absolute assurance and therefore is not a guarantee that an audit conducted in accordance
    with generally accepted auditing standards will always detect a material misstatement when it exists. The risk of not detecting a
    material misstatement resulting from fraud is higher than for one resulting from error, as fraud may involve collusion, forgery,
    intentional omissions, misrepresentations, or the override of internal control. Misstatements are considered material if there is
    a substantial likelihood that, individually or in the aggregate, they would influence the judgment made by a reasonable user
    based on the financial statements.




FGMK, LLC                                                                             Bannockburn | Chicago | Cleveland
333 W. Wacker Drive, 6th Floor | Chicago, IL 60606
                                                                                   Dubuque | Indianapolis | Oakbrook Terrace
          Confidential
2801 Lakeside                Treatment
              Drive, 3rd Floor              Requested
                               | Bannockburn,  IL 60015 by                                                BTS00833800
17W110 22nd Street, 3rd Floor | Oakbrook Terrace, IL 60181                            Orange County | Santa Fe | Sarasota
         BAM Trading Services Inc.
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In performing an audit in accordance with generally accepted auditing standards, we:

    o   Exercise professional judgment and maintain professional skepticism throughout the audit.
    o   Identify and assess the risks of material misstatement of the financial statements, whether due to fraud or error, and
        design and perform audit procedures responsive to those risks. Such procedures include examining, on a test basis,
        evidence regarding the amounts and disclosures in the financial statements.
    o   Obtain an understanding of internal control relevant to the audit in order to design audit procedures that are
        appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of the
        Company’s internal control. Accordingly, no such opinion is expressed.
    o   Evaluate the appropriateness of accounting policies used and the reasonableness of significant accounting estimates
        made by management, as well as evaluate the overall presentation of the financial statements.
    o   Conclude whether, in our judgment, there are conditions or events, considered in the aggregate, that raise substantial
        doubt about the Company’s ability to continue as a going concern for a reasonable period of time.

We are required to communicate with those charged with governance regarding, among other matters, the planned scope and
timing of the audit, significant audit findings, and certain internal control related matters that we identified during the audit.




Bannockburn, Illinois
May 10, 2023




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                                     BAM Trading Services Inc.
                                         Balance Sheet
                                       December 31, 2022




           The accompanying notes are an integral part of these financial statements.                 3
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                                     BAM Trading Services Inc.
                                      Statement of Operations
                              For the Year Ended December 31, 2022




             The accompanying notes are an integral part of these financial statements.
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                                                         BAM Trading Services Inc.
                                                     Statement of Stockholder's Equity
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Confidential Treatment RequestedThe
                                 by accompanying notes are an integral part of these financial statements.   BTS00833804
BAM Trading Services Inc.                                                                                              5
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                                        BAM Trading Services Inc.
                                         Statement of Cash Flows
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                                              (Continued)




              The accompanying notes are an integral part of these financial statements.
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                                       BAM Trading Services Inc.
                                  Statement of Cash Flows (continued)
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              The accompanying notes are an integral part of these financial statements.
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1. NATURE OF OPERATIONS

   BAM Trading Services Inc. d/b/a Binance.US (the "Company" or "BAM Trading"), a Delaware
   corporation, commenced operations on February 4, 2019 and is headquartered in Miami, Florida. The
   Company is a wholly-owned subsidiary of BAM Management U.S. Holdings Inc. (“BAM Management”).

   In September 2019, the Company launched Binance.US, a crypto asset trading platform for the United
   States market, through a licensing arrangement with Binance Holdings Limited (“BHL”), which operates
   a global crypto asset trading platform under the name Binance.com (Note 3). Binance.US is powered by
   matching engine and wallet technologies licensed from BHL and provides secure and reliable crypto asset
   trading and a hosted wallet service to its users. As of December 31, 2022, Binance.US supported 150
   crypto assets and 324 trading pairs, with plans for adding more crypto assets in the future.

2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

   Basis of accounting and financial statement presentation
   The Company's financial statements have been prepared using accounting principles generally accepted in
   the United States of America ("U.S. GAAP").

   Risks and uncertainties
   The Company's future results of operations involve a number of risks and uncertainties that could have a
   material adverse effect on its business, prospects, financial condition, cash flows, liquidity and results of
   operations. The risk factors set forth below are cautionary statements identifying important factors that
   could cause the Company’s actual results for various financial reporting periods to differ materially from
   those expressed in any forward-looking statements made by or on the Company's behalf.

   Compliance risk

   BAM Trading is registered with the U.S. Department of Treasury’s Financial Crimes Enforcement
   Network (“FinCEN”) as a Money Services Business (“MSB”). The federal Bank Secrecy Act, also known
   as the Currency and Foreign Transactions Reporting Act, and its implementing regulations (collectively,
   the “BSA”) is a compendium of federal statutes which serve as the United States’ principal anti-money
   laundering (“AML”) and anti-terrorist financing statutes. FinCEN is responsible for promulgating
   regulations that implement the BSA. The Company currently operates its platform to facilitate the
   exchange of crypto assets. By facilitating the exchange of crypto assets through its platform, the Company
   believes it is acting as an “exchanger” of virtual currency under FIN-2013-G001, Application of FinCEN's
   Regulations to Persons Administering, Exchanging, or Using Virtual Currencies issued by FinCEN on
   March 18, 2013 (“FinCen’s 2013 Guidance”). This is because the Company is facilitating the exchange of
   crypto currency for other crypto currency (or fiat currency held by the Company or Prime Trust, LLC
   (“Prime Trust”)) and charges users a fee to facilitate such trades through the Company’s platform, by
   which it believes it is “engaged as a business in exchanging virtual currency” for other virtual currency or
   fiat currency. The over-the-counter desk and convert features of the Company’s platform would likewise
   fall into this category. FinCEN’s 2013 Guidance provides that “exchangers” are to be classified as money
   transmitters, a type of MSB, under the BSA. This designation also covers the Company’s provision of the
   remittance services, which are either the transmittal of fiat currency or crypto assets from point A to point
   B.




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   Forty-nine states, the District of Columbia, the Federated States of Micronesia, Guam, the Marshall
   Islands, the Northern Mariana Islands, Palau, Puerto Rico, and the U.S. Virgin Islands have money
   transmission statutes that require an entity to obtain a license in order to engage in certain regulated
   activities. While these statutes vary by state, in general the activities which typically require an entity to
   seek licensure as a money transmitter are: (i) the sale or issuance of money orders or traveler’s checks; (ii)
   the sale or issuance of open-loop stored value; and (iii) the transmission of money or monetary value,
   either electronically or otherwise, from point A to point B, including bill payment (this subsection (iii)
   mirrors the definition of “money transmission” under the BSA set forth above). Generally, any entity
   engaging in any of the three activity categories must be licensed under the relevant state laws as a money
   transmitter, be appointed and serve as the authorized agent of a licensed money transmitter, or be an entity
   which is exempt from the scope of the money transmitter statutes, such as a federally-insured financial
   institution. The reason for this construct is to ensure that each entity engaging in money transmission either
   is regulated as a licensee or is exempt because it is already subject to regulation (e.g., banks). Some
   jurisdictions such as California have money transmission statutes but have taken the position that BAM
   Trading’s products do not require a license, thereby authorizing the Company to operate in those
   jurisdictions without a license. The Company is licensed in 43 jurisdictions and authorized to operate in
   an additional 6 jurisdictions.

   Regulation risk

   Federal, state or local governments may restrict the use and exchange of digital assets in the future. There
   is also uncertainty regarding the current and future accounting, tax, and legal treatment, as well as
   regulatory requirements relating to digital assets or transactions utilizing digital assets. There is currently
   no authoritative guidance on the accounting for digital assets. Current promulgated tax rules related to
   digital assets are unclear and require significant judgments to be made in interpretation of the law,
   including but not limited to the areas of income tax, information, reporting, transaction level taxes and the
   withholding of tax at source. Additional legislation or guidance may be issued by U.S. governing bodies
   that may differ significantly from the Company’s practice or interpretation of the law. Governmental
   regulations, or any adverse accounting, tax, legal or regulatory treatment of digital assets or transactions
   could materially and adversely affect the manner in which the Company conducts its business and could
   result in heightened regulation, oversight, increased costs and potential litigation.

   Market risk

   Digital assets and their respective protocol networks are exposed to risks due to fraud, technological
   glitches, hackers or malware. The loss of digital assets, the Company's ability to manage fraud, or the
   application of new laws and regulations, could materially and adversely affect its reputation, business,
   financial condition, prospects, liquidity, and/or results of operations.

   While the Company is continuing to diversify its revenue sources, its current revenues are primarily
   derived from transaction fees on sales and purchases of digital assets by its customers.

   Market risk arises primarily from changes in the market value of digital assets, which is influenced by a
   number of factors, including the volatility and liquidity in the marketplace, which could materially and
   adversely affect the Company's results of operations.

   Concentration of credit risk
   Financial instruments that potentially subject the Company to a concentration of credit risk consist of cash
   and cash equivalents, restricted cash and customer custodial funds. Cash and cash equivalents, restricted



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   cash and customer custodial funds are deposited at financial institutions. Periodically, such balances may
   be in excess of federally insured limits. The Company has not incurred any significant losses on its deposits
   of cash and cash equivalents, restricted cash or customer custodial funds as of the date these financial
   statements were available to be issued. The Company maintains relationships with numerous banking
   partners to ensure adequate redundancies across its operations and to minimize concentration risks. As of
   December 31, 2022, the Company had $143,298,844 and $37,911,076 of cash and cash equivalents,
   restricted cash and customer custodial funds held at Silvergate Capital Corp. and Signature Bank,
   respectively. Both banks have experienced liquidity issues and were seized by the Federal Deposit
   Insurance Corporation (“FDIC”) subsequent to December 31, 2022. The Company’s funds are protected
   by the FDIC up to the FDIC limit and the Company is transitioning to other financial institutions. The
   Company did not experience material interruptions in its operations due to the bank takeovers and does
   not expect future material interruptions.

   Indemnifications

   In the normal course of business, the Company enters into contracts that contain a variety of representations
   and warranties that provide indemnifications under certain circumstances. The Company’s maximum
   exposure under these arrangements is unknown, as this would involve future claims that may be made
   against the Company that have not yet occurred. The Company expects the risk of future financial
   obligations under these indemnifications to be remote.

   Liquidity

   The Company has incurred significant losses and negative cash flows from operations for the year ended
   December 31, 2022 due to the current market conditions. Management does not believe there is substantial
   doubt over the Company's ability to continue as a going concern. However, if the Company needs to
   increase its liquidity condition in the future, management may plan to seek to obtain additional capital
   contributions from BAM Management, issue additional debt securities or obtain a credit facility. Without
   additional funds, the Company may choose to delay or reduce its operating or investment expenditures.

   Use of estimates
   The preparation of financial statements in accordance with U.S. GAAP requires management to make
   estimates and assumptions that affect the reported amounts of assets and liabilities, disclosures of
   contingent assets and liabilities at the date of the financial statements, and the reported amounts of revenues
   and expenses during the reporting periods. These estimates include, but are not limited to, valuation of
   crypto assets, provision for transaction losses, accounting for income taxes, assessing the likelihood of
   adverse outcomes from claims and disputes, and the Company’s assessment of its ability to maintain
   compliance with laws and regulations that currently apply or become applicable given the highly evolving
   and uncertain regulatory landscape. To the extent that there are material differences between these
   estimates and results, the Company's financial statements will be affected.

   Fair value measurements
   The Company applies fair value accounting for all financial assets and liabilities. The Company defines
   fair value as the price that would be received from selling an asset or paid to transfer a liability in an orderly
   transaction between market participants at the measurement date. Fair value is estimated by applying the
   following hierarchy, which prioritizes the inputs used to measure fair value into three levels and bases the
   categorization within the hierarchy upon the lowest level of input that is available and significant to the
   fair value measurement:




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       ●   Level 1 - Unadjusted quoted prices in active markets that are accessible at the measurement date
           for identical, unrestricted assets or liabilities.

       ●   Level 2 - Observable inputs other than quoted prices in active markets for identical assets and
           liabilities, quoted prices for identical or similar assets or liabilities in inactive markets, or their
           inputs that are observable or can be corroborated by observable market data for substantially the
           full term of the assets or liabilities.

       ●   Level 3 - Inputs that are generally unobservable and typically reflect management's estimate of
           assumptions that market participants would use in pricing the asset or liability.

   The fair value of crypto asset denominated assets and liabilities are based on published exchange rates,
   which are determined to be Level 1 inputs, as the crypto assets are traded in active exchange markets. The
   Company monitors the exchange rates against various third-party exchanges.

   Cash and cash equivalents
   The Company considers all highly liquid financial instruments purchased and cash on hand that is not
   restricted as to withdrawal with original maturities of three months or less to be cash and cash equivalents.
   Cash and cash equivalents exclude customer fiat, which is reported separately as customer custodial funds
   in the accompanying balance sheet.

   Restricted cash
   The Company has restricted cash deposits at financial institutions as cash collateral for potential
   chargeback losses and related to an escrow deposit for the transaction with Voyager Digital, LLC
   (“Voyager”) which has been terminated as discussed below.

   On December 18, 2022, the Company entered into an agreement to acquire certain assets and assume
   certain liabilities of Voyager which included a required escrow deposit of $10,000,000. The Company
   terminated the transaction on April 25, 2023 in accordance with termination clauses within the agreement
   and is pursuing the return of the escrow deposit.

   USDC and BUSD
   USD Coin (“USDC”) and Binance USD (“BUSD”) are accounted for as financial instruments subject to
   fair value measurement; one USDC or one BUSD can each be redeemed for one U.S. dollar on demand
   from the respective issuer. While USDC and BUSD are not accounted for as cash and cash equivalents,
   the Company treats USDC and BUSD as liquidity resources.

   Crypto assets
   The Company facilitates transactions between users and earns fee revenue on transactions that are
   denominated in crypto assets. The Company assigns costs to crypto asset transactions in its inventory on
   a first-in, first-out basis. The Company does not hold crypto assets for speculative purposes.

   Through December 1, 2022, all Company-owned crypto assets were held in custody accounts through the
   Wallet Custody Agreement with BHL (Note 3). Per the agreement, BHL held all of the Company’s
   customers’ assets in custody. Prior to December 1, 2022, the Company accounted for its crypto assets
   under custody with BHL as receivables subject to fair value measurement. The Company initially recorded



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   crypto asset receipts at cost and subsequently marked its crypto asset holdings to market at each reporting
   date. Fair value was determined based on quoted market exchange prices as of the reporting date.
   Unrealized gains and losses arising from changes in the fair value of crypto assets, as well as gains and
   losses realized from differences in prices in which crypto assets were purchased compared to crypto assets
   sold, were recognized net, in loss on crypto assets in the accompanying statement of operations.

   Effective December 1, 2022, following the termination of the Wallet Custody Agreement with BHL, the
   Company’s crypto assets that were previously carried as receivables were derecognized at fair value. Any
   gain or loss recorded on this derecognition was recorded as realized gain or loss on the accompanying
   statement of operations. These crypto assets were then recorded as intangible assets with indefinite useful
   lives in accordance with the Financial Accounting Standards Board (“FASB”) Accounting Standards
   Codification (“ASC”) 350, Intangibles - Goodwill and Other.

   These intangible assets are initially measured at cost and are subject to impairment losses if the fair value
   of the crypto assets decreases below the carrying value at any time during the period in which the Company
   holds the crypto assets. The fair value is measured using the quoted price of the crypto assets at the time
   its fair value is being measured on a weighted average basis, based on exchange activities which
   approximate the assets’ principal market. The Company recorded impairment charges of $16,849,604
   related to its crypto assets during the year ended December 31, 2022.

   The Company classifies its crypto assets as current assets on the accompanying balance sheet as its crypto
   assets are highly liquid and can be consumed in the normal course of business or converted to cash within
   12 months.

   The Company has a crypto loan agreement with a staking partner that was funded by Company-owned
   crypto assets. The Company concluded that control of the underlying crypto assets was not transferred to
   the borrower and therefore, it did not derecognize the loaned crypto assets from its balance sheet.

   Customer custodial funds, Customer funds receivable and Customer funds payable
   Customer custodial funds represent cash and cash equivalents held in segregated Company controlled bank
   accounts that are held for the exclusive benefit of customers.

   Customer funds receivable consist of funds advanced to customer accounts upon initiation of an ACH or
   debit card deposit and arise due to the time it takes to settle the deposit. Customer funds receivable are
   typically received within one or two business days of the transaction date.

   Customer funds payable represent the obligation to return customer custodial funds, customer funds
   receivables and unsettled withdrawals.

   The Company establishes withdrawal-based limits in order to mitigate potential losses by preventing
   customers from withdrawing funds until the deposit settles.

   Property and equipment
   Property and equipment are stated at cost, net of accumulated depreciation and amortization.




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   Depreciation and amortization of property and equipment is computed using the straight-line method over
   the following estimated useful lives:

       Computer equipment                            3 years
       Furniture and fixtures                        5 years
       Leasehold improvements                        Lesser of 5 years or lease term

   Expenditures for repairs and maintenance are expensed as incurred. Upon disposition, the cost and related
   accumulated depreciation and amortization are removed from the accounts, and the resulting gain or loss
   is recognized or charged to other income in the accompanying statement of operations.

   Leases

   The Company determines if an arrangement is a lease at inception. For operating leases where the
   Company is the lessee, right-of-use ("ROU") assets represent the Company's right to use the underlying
   asset for the term of the lease and the lease liabilities represent an obligation to make lease payments
   arising from the lease. Lease liabilities are recognized at the lease commencement date based on the present
   value of the future lease payments over the lease term. Most leases do not provide an implicit rate, so the
   Company uses its incremental borrowing rate based on the information available at the commencement
   date of the underlying lease arrangement to determine the present value of lease payments. The ROU asset
   is determined based on the lease liability initially established and reduced for any prepaid lease payments
   and any lease incentives received. The lease term to calculate the ROU asset and related lease liability
   includes options to extend or terminate the lease when it is reasonably certain that the Company will
   exercise the option. The Company's lease agreements generally do not contain any material variable lease
   payments, residual value guarantees or restrictive covenants.
   The Company has made the policy election to account for short-term leases by recognizing the lease
   payments in the statements of operations on a straight-line basis over the lease term and not recognizing
   these leases on the Company's balance sheet.

   Lease expense for operating leases is recognized on a straight-line basis over the lease term as an operating
   expense while expense for finance leases is recognized as depreciation expense and interest expense using
   the accelerated interest method of recognition. The Company accounts for lease components and non-lease
   components as a single lease component.

   As of December 31, 2022, the Company did not have any significant operating or finance leases.

   Deferred acquisition costs

   The Company incurred costs related to professional fees for the Voyager asset acquisition transaction.
   Certain transaction costs such as legal, accounting, and consulting expenses of $2,641,012 as of December
   31, 2022 were deferred and capitalized in other non-current assets on the accompanying balance sheet as
   they would not have been incurred by the Company had it not pursued the transaction.

   The Company terminated the asset acquisition transaction on April 25, 2023. Accordingly, capitalized
   deferred acquisition costs through the termination date will be expensed during the second quarter of 2023.




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   Impairment of long-lived assets

   The Company evaluates the carrying value of long-lived assets, including property and equipment, on an
   annual basis, or more frequently whenever the circumstances indicate a long-lived asset may be impaired.
   When indicators of impairment exist, the Company estimates future undiscounted cash flows attributable
   to such assets. In the event cash flows are not expected to be sufficient to recover the recorded value of the
   assets, the assets are written down to their estimated fair value. There were no long-lived asset impairments
   for the year ended December 31, 2022.

   Revenue recognition

   The Company recognizes revenue when it transfers control of promised goods or services to its customers
   in an amount that reflects the consideration to which it expects to be entitled to in exchange for those goods
   or services. The Company uses the following steps to determine revenue recognition:

       ●   Identification of the contract, or contracts, with the customer
       ●   Identification of the performance obligations in the contract
       ●   Determination of the transaction price
       ●   Allocation of the transaction price to the performance obligations in the contract
       ●   Recognition of the revenue when, or as, the Company satisfies a performance obligation

   Exchange transactions

   The Company derives a majority of its revenue from exchange transactions, where users can buy, sell or
   convert crypto assets on the platform for an exchange service fee. The Company also derives revenue from
   deposit fees when customers use debit cards to deposit funds into their platform account and withdrawal
   fees when a customer requests a transfer of their funds out of their platform account. Fees are charged and
   collected at the transaction level and represent a single performance obligation. The Company has
   determined it is an agent in the transaction between customers and presents revenue for the fees earned on
   a net basis. This determination requires judgment and is based on the fact that the Company does not
   control the crypto asset being provided before it is transferred to the buyer, does not have inventory risk
   related to the crypto asset and does not set the price for the crypto asset as the price is a market rate
   established by users of the platform.

   The Company considers its performance obligation satisfied, and recognizes revenue, at the point in time
   the transaction is processed, which is either upon the transfer of the crypto assets to the customer, receipt
   of crypto assets purchased from the customer, or transfer of funds on or off the platform.

   Crypto asset transactions occur in multiple time zones, some of which differ from the time zone of the
   Company's headquarter location. The Company uses Coordinated Universal Time (“UTC”) as time basis
   for revenue recognition cut-off.

   Staking rewards

   The Company also engages in staking of tokens on proof-of-stake networks. These networks use a
   variation of the proof-of-stake protocol that allows entities to delegate their stake to another party that acts
   as a validator. The delegating entity is commonly referred to as the delegator, and the other party is
   commonly referred to as the validator. The Company retains control of the stake via the delegation process
   through the use of third-party validators. These third-party validators are technology service providers that
   perform routine functions. The crypto assets at stake are earmarked on the blockchain and cannot be used



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   for any other purpose in the period during which they are staked. The crypto assets are not transferred on
   the blockchain to another public address when staked (or delegated). These blockchain protocols, or the
   participants that form the protocol networks, reward users for performing various activities on the
   blockchain, such as participating in proof-of-stake networks and other consensus algorithms. The
   Company considers itself the principal in transactions with the blockchain networks, and therefore presents
   such blockchain rewards earned on a gross basis. In exchange for participating in the consensus mechanism
   of these networks, the Company earns rewards in the form of the native token of the network. Each block
   creation or validation is a performance obligation. Revenue is recognized at the point in time when the
   block creation or validation is complete and the reward is received on the blockchain. Revenue is measured
   based on the number of tokens earned and the fair value of the token. The Company’s staking rewards are
   recorded within the respective blockchains and the Company will claim such rewards.

   Integration fees and token listing deposits

   From time to time and following approval from the listings committee, the Company enters into contracts
   with token projects to list the project's token on the Company's platform. These contracts generally include
   a technical integration fee ("TIF") and a marketing fee which are deemed to be distinct performance
   obligations. Fees are due up front and are not refundable. The transaction price is allocated between these
   performance obligations using the standalone selling price. TIF revenue is recognized on the date (point
   in time) the token becomes available for trading on the Company's platform. Marketing fees are recognized
   over time as revenue as the related fees are consumed in marketing campaigns. The Company also requires
   a refundable deposit from the token projects which is not considered a component of the transaction price
   and is recorded as token listing deposits in the accompanying balance sheet.

   For the year ended December 31, 2022, the Company collected approximately 75% of its revenue in crypto
   assets. Substantially all of the Company’s revenues are recognized at a point in time.

   Provision for transaction losses
   The Company is exposed to losses primarily due to fraudulent payment methods used to purchase crypto
   assets on its platform. The Company establishes a provision for estimated losses incurred as of the
   reporting date, including those which the Company has not yet been notified. The estimate is based on
   historical loss payment patterns. The Company recorded a net recovery of chargeback losses on its accrual
   of $1,145,128 in cost of revenue in the accompanying statement of operations for the year ended December
   31, 2022, and an accrued provision for transaction losses of $563,707 in accrued expenses in the
   accompanying balance sheet as of December 31, 2022. Cumulative recoveries exceeded chargeback losses
   by $3,485,115 for the year ended December 31, 2022.

   Deferred revenue
   Deferred revenue reflects the amount received from token partners in advance of revenue recognition and
   is recognized when all revenue recognition criteria are met. The Company's deferred revenue as of
   December 31, 2022 consists of integration and marketing services for token listings that have not yet been
   delivered. Deferred revenue is recorded in other current liabilities on the accompanying balance sheet.

   Cost of revenue
   Cost of revenue includes direct costs related to revenue recognition, such as crypto trading network fees,
   fiat rail fees, royalty, staking rewards expense, ACH and debit card transaction losses, web hosting and
   compliance costs.




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   Advertising cost
   The Company expenses advertising and marketing expenses as incurred. Marketing and advertising
   include general marketing, crypto marketing, referral, promotional products and public relations agency
   fees. For the year ended December 31, 2022, the Company recognized advertising expenses of $8,149,569.

   Income taxes
   The Company accounts for income taxes using the asset and liability method whereby deferred tax asset
   and liability account balances are determined based on temporary differences between the financial
   statement and tax bases of assets and liabilities using enacted tax rates in effect for the year in which the
   differences are expected to affect taxable income. A valuation allowance is established when management
   estimates that it is more likely than not that deferred tax assets will not be realized. Realization of deferred
   tax assets is dependent upon future pretax earnings, the reversal of temporary differences between book
   and tax income, and the expected tax rates in future periods. The effect of a change in tax rates on deferred
   tax assets and liabilities is recognized in income in the period that includes the enactment date. In making
   such a determination, management considers all available positive and negative evidence, including future
   reversals of existing taxable temporary differences, projected future taxable income, tax planning
   strategies, and results of recent operations. If management determines that the Company would be able to
   realize its deferred tax assets in the future in excess of their net recorded amount, the Company would
   make an adjustment to the deferred tax asset valuation allowance, which would reduce the provision for
   income taxes.

   The Company is required to evaluate the tax positions taken in the course of preparing its tax returns to
   determine whether tax positions are more likely than not to be sustained by the applicable tax authority.
   Tax benefits of positions not deemed to meet the "more-likely-than-not" threshold would be recorded as a
   tax expense in the current year. The amount recognized is subject to an estimation and management
   judgment with respect to the likely outcome of each uncertain tax position. The amount that is ultimately
   sustained for an individual uncertain tax position or for all uncertain tax positions in the aggregate could
   differ from the amount that is initially recognized. It is the Company's practice to recognize interest and
   penalties related to income tax matters in income tax expense.

   For U.S. federal tax purposes, digital asset transactions are treated on the same tax principles as property
   transactions. The Company recognizes a gain or loss when crypto assets are exchanged for other property,
   in the amount of the difference between the fair market value of the property received and the tax basis of
   the exchanged crypto asset. Receipts of digital assets in exchange for goods or services are included in
   taxable income at the fair market value on the date of receipt.

   Recently Issued Accounting Pronouncements Not Yet Adopted
   In June 2016, the FASB issued Accounting Standard Updates (“ASU”) No. 2016-13, Financial
   Instruments — Credit Losses (Topic 326). ASU 2016-13 changes how companies measure credit losses on
   most financial instruments measured at amortized cost, such as loans, receivables and held-to-maturity
   debt securities. Rather than generally recognizing credit losses when it is probable that the loss has been
   incurred, the revised guidance requires companies to recognize an allowance for credit losses for the
   difference between the amortized cost basis of a financial instrument and the amount of amortized cost
   that the company expects to collect over the instrument’s contractual life. ASU No. 2016-13 is effective
   for fiscal periods beginning after December 15, 2022 for nonpublic entities, and must be adopted as a
   cumulative effect adjustment to retained earnings. Early adoption is permitted. This standard is effective
   for the Company on January 1, 2023. The Company does not expect the adoption of this ASU to have a
   material impact on the financial statements.



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   In December 2019, the FASB issued ASU 2019-12, Income Taxes (Topic 740), Simplifying the Accounting
   for Income Taxes, which removes specific exceptions to the general principles in Topic 740 and simplifies
   the accounting for income taxes. Following adoption of the ASU, entities are no longer required to
   consider: the exception to intraperiod tax allocation when there is a loss in continuing operations and
   income in other components, the exception in interim period income tax accounting that limits the benefit
   for year-to-date losses that exceed anticipated losses for the year, and exceptions to accounting for outside
   basis differences of equity method investments and foreign subsidiaries. This update also simplifies the
   accounting for: a franchise tax (or similar tax) that is partially based on income, tax rate changes in an
   interim period, the allocation of taxes to separate company financial statements for entities both not subject
   to tax and disregarded by the taxing authority, and when a step-up in the tax basis of goodwill should be
   considered part of a business combination versus a separate transaction. This guidance is effective for
   annual reporting periods beginning after December 15, 2022 for nonpublic entities; and, early adoption is
   permitted. This standard is effective for the Company on January 1, 2023. The Company is currently
   evaluating the impact of the guidance on the financial statements.

   On March 31, 2022, the U.S. Securities and Exchange Commission issued Staff Accounting Bulletin No.
   121 (“SAB 121”). SAB 121 provides interpretive guidance for entities that have obligations to safeguard
   customer crypto assets. The guidance requires an entity to recognize a liability to reflect its obligation to
   safeguard the users’ assets, and recognize a corresponding safeguarding asset. Both the liability and asset
   should be measured initially and subsequently at the fair value of the crypto assets being safeguarded. The
   guidance also requires additional disclosures related to the nature and amount of crypto assets that the
   entity is responsible for holding for its customers, with separate disclosure for each significant crypto asset,
   and the vulnerabilities the entity has due to any concentration in such activities. The guidance in SAB 121
   is effective for public entities for interim or annual periods ending after June 15, 2022, with retrospective
   application as of the beginning of the fiscal year to which the interim or annual period relates. Nonpublic
   business entities are not required to adopt SAB 121, but may voluntarily elect to do so. The Company is
   currently evaluating the impact of the guidance on the financial statements.

3. RELATED-PARTY TRANSACTIONS

   The Company receives advances from and makes payments on behalf of BAM Management and its
   subsidiaries, and receives allocations for labor and related charges for ongoing personnel support in the
   ordinary course of business. These payments made on behalf of and allocations charged by BAM
   Management and its subsidiaries result in intercompany receivables and payables. As of December 31,
   2022, the unsettled intercompany payables due to BAM Management and its subsidiaries was $68,142,763.
   These amounts are unsecured, noninterest bearing and due on demand.

   The Company has entered into certain agreements with BHL, an entity which is affiliated with BAM
   Management through common ownership. The agreements relate to the licensing and support of services
   as follows:

       ●   Software License Agreement - Whereas BHL owns a digital currency trading platform which it
           operates in multiple countries, BHL has granted the Company a nonexclusive, perpetual,
           irrevocable, non-transferable, fully paid-up, royalty-free license to the licensed software in order
           to allow the Company to operate a digital currency trading platform in the U.S. market.
       ●   Master Services Agreement - This agreement dictates the terms of use and access in relation to the
           licensed software. Additionally, it denotes the hosting and support services which will be offered
           by BHL to the Company and the Company's users as well as the development and implementation




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           of Company specific enhancements.
       ●   Trademark License Agreement - BHL has granted the Company a nonexclusive, non-transferable,
           non-sublicensable, perpetual, irrevocable, royalty-free, fully paid-up license to use certain
           trademarks owned by BHL.
       ●   Wallet Custody Agreement - The Company selected BHL to serve as a custodian to the Company
           with respect to the crypto assets in any custody account. This agreement specified the terms of the
           relationship the Company would have with BHL as the custodian. This agreement was terminated
           as of December 1, 2022. Effective December 1, 2022, the Company is the custodian of its crypto
           assets and continues to license the wallet custody software under the Software License Agreement
           following the termination of the Wallet Custody Agreement.

   In accordance with the terms of these agreements, for the year ended December 31, 2022, the Company
   incurred expenses totaling $3,805,102, which are included in cost of revenue in the accompanying
   statement of operations and had no balance due to BHL as of December 31, 2022.

   In September 2022, the Company entered into a note payable agreement with BHL to borrow certain crypto
   assets with a value of $25,952,841. The note was repaid with the same quantity of crypto assets in October
   2022.

4. CRYPTO ASSETS

   The following table presents additional information on the Company’s crypto assets of December 31,
   2022:




   The fair value of crypto assets is based on quoted market prices for one unit of each crypto asset at 11:59
   pm UTC on the last day of the year multiplied by the quantity of each crypto asset.

5. CUSTOMER ASSETS AND LIABILITIES

   The Company includes customer custodial funds and customer funds receivable with a corresponding
   offset in customer funds payable in the accompanying balance sheet. Customer custodial funds do not
   include approximately $279 million of customer funds, as of December 31, 2022, that were directly
   custodied by Prime Trust under separate contractual arrangements between Prime Trust and the customer.
   These funds are considered off-balance sheet arrangements.

   As of December 31, 2022, the Company stored and custodied an aggregate U.S. Dollar value of
   approximately $1.778 billion in crypto assets held in customer wallets on behalf of its customers, as off-
   balance sheet arrangements.




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   The following table presents customers’ cash and crypto positions as of December 31, 2022:

    Customer custodial funds                                                      $   146,995,183
    Customer fiat assets (off-balance sheet)                                          278,790,229
    Customer crypto assets (off-balance sheet)                                      1,778,308,784
                                                                                    2,204,094,196
    Customer funds receivable                                                           3,007,427
    Total customer assets                                                         $ 2,207,101,623

    Customer funds liability                                                      $   150,002,610
    Customer fiat liability (off-balance sheet)                                       278,790,229
    Customer crypto liability (off-balance sheet)                                   1,778,308,784
    Total customer liabilities                                                    $ 2,207,101,623

6. FAIR VALUE MEASUREMENTS

   The following table sets forth by level, within the fair value hierarchy, the Company’s assets measured at
   fair value on a recurring basis as of December 31, 2022:

                                        Level 1           Level 2    Level 3     Fair Value
   USDC and BUSD                        $ 3,273,201 $ -             $-         $ 3,273,201


7. PREPAID EXPENSES AND OTHER CURRENT ASSETS

   Prepaid expenses and other current assets consisted of the following as of December 31:


                                                                                        2022
    Loss recovery receivable (Note 9)                                             $    13,187,699
    Income tax receivable                                                                 597,001
    Prepaid expenses                                                                   10,027,547
                                                                                  $    23,812,247

8. PROPERTY AND EQUIPMENT, NET

   Property and equipment, net consisted of the following as of December 31:

                                                                                        2022
    Computer equipment                                                            $     1,543,895
    Accumulated depreciation                                                             (501,016)
                                                                                  $     1,042,879




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9. COMMITMENTS AND CONTINGENCIES

   Customer crypto asset wallets
   Under a Wallet Custody Agreement (Note 3), BHL had custody and control of customers' private keys, or
   components to cryptographic signatures necessary to transfer associated customer crypto assets. For
   security reasons, BHL used consolidated addresses to pool customer crypto assets but maintains separate
   ledger entries to designate each customer's crypto asset balance. The Wallet Custody Agreement was
   terminated as of December 1, 2022.

   The Company stores and safeguards crypto assets for its platform customers in digital wallets and portions
   of cryptographic key information necessary to access crypto assets on the Company’s platform. The
   Company stores and safeguards these assets and/or key information and is obligated to safeguard them
   from loss, theft, or other misuse. The Company may be liable to its customers for losses arising from theft
   or loss of private keys. The Company has no reason to believe it will incur any expense associated with
   such potential liability because (i) it has no known or historical experience of claims to use as a basis of
   measurement, (ii) it accounts for and continually verifies the amount of crypto assets on its platform, (iii)
   it has established security around private key management to minimize the risk of theft or loss, (iv) the
   Company's commercial agreements and user agreements broadly disclaim the Company from liability
   resulting from network failures or wallet service provider failures except in limited circumstances. The
   Company has adopted a number of measures to safeguard crypto assets it secures including, but not limited
   to, holding customer crypto assets on a 1:1 basis and strategically storing custodied assets offline using the
   Company’s cold storage process. The Company also does not sell, lend, seize or rehypothecate customer
   crypto assets nor grant security interests in customer crypto assets, in each case unless required by law
   enforcement or agreed to by the customer. Any loss or theft would impact the measurement of the customer
   crypto assets. During 2022, the Company identified unauthorized transactions related to a crypto token
   and recorded a $4,178,489 loss, after considering probable loss recovery from customer assets seized by
   the U.S. government, in operating expenses on the accompanying statement of operations for the year
   ended December 31, 2022 as further discussed below under legal proceedings. No other significant losses
   have been incurred in connection with customer crypto assets for the year ended December 31, 2022.

   Leases

   In November 2019, the Company entered into an operating lease agreement for office space in San
   Francisco, California. The lease commenced in January 2020 and expires in May 2023. The monthly base
   rent under the lease agreement is approximately $36,300 for the first year and increases by 3% annually
   thereafter over the lease term. The discount rate for the Company's operating lease was 1.54%. In February
   2022, the Company early terminated this operating lease for a termination fee of $163,412 recorded in
   operating expenses on the accompanying statement of operations.

   The Company also leases office space under month-to-month and short-term lease arrangements of 12
   months or less.

   The components of lease costs were as follows for the year ended December 31:

                                                                                           2022
    Operating lease costs                                                            $        57,768
    Short-term lease costs                                                                   937,636
                                                                                     $       995,404




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   Legal proceedings
   The Company is subject to various legal proceedings and claims arising in the ordinary course of business.
   As of December 31, 2022, the Company is a party to the following legal matters of potential material
   consequences:

   The Company is the plaintiff in claims related to customer assets seized by the U.S. government as a result
   of identified unauthorized transactions under investigation related to a crypto token. As of December 31,
   2022 and through the date of the issuance of the financial statements, the Company is waiting for the U.S.
   government enforcement officials to complete the process of recovering and returning assets
   misappropriated by certain individuals. Based on discussions with the U.S. government, the Company
   believes that the assets seized are solely attributable to BAM Trading and collection of the claim for loss
   recovery is probable. As such, the Company recorded a loss recovery receivable of $13,187,699 in prepaid
   expenses and other current assets on the accompanying balance sheet as of December 31, 2022 as the
   likelihood of such recovery is probable and recognized a $4,178,489 loss in operating expenses on the
   accompanying statement of operations for the year ended December 31, 2022 for related amounts that are
   not expected to be recovered. The Company expects to collect the loss recovery receivable amount in
   2023.

   The Company is in dispute over the contract terms of an indemnity deposit received related to a crypto
   token. As of December 31, 2022 and through the date of the issuance of the financial statements, the
   Company has not reached a settlement through mediation and is expecting to resolve the matter in
   arbitration. The Company recorded a loss contingency of $17,330,368 as of December 31, 2022 in token
   listing deposits - current and operating expenses on the accompanying balance sheet and statement of
   operations, respectively. The Company has retained crypto assets in excess of the loss contingency in case
   such assets are required to resolve the dispute.

   The Company is a named defendant in a data privacy/collection putative class action under the Illinois
   Biometric Information Privacy Act. The Company was named because it used Jumio Corporation’s
   identity verification software during the onboarding process for Illinois users. If the plaintiffs prevail and
   damages are awarded, the Company contends that Jumio Corporation is solely liable for any damages.
   Jumio Corporation contends that it is entitled to indemnification from the Company. It is currently too
   early in the litigation to accurately quantify the potential damages.

10. STOCKHOLDER’S EQUITY

   The Company is authorized to issue up to 10,000,000 shares of common stock, with a par value of
   $0.00001 per share. As of December 31, 2022, 7,500,000 shares of authorized common stock were issued
   and outstanding to BAM Management.

   BAM Trading operates as an MSB under money transmitter licenses and is subject to the oversight of, and
   inspection by the statutes and regulatory bodies of the jurisdictions it operates in. Certain jurisdictions have
   minimum capital adequacy requirements. As such, the Company received $132,000,000 from BAM
   Management during the year ended December 31, 2022 in order to maintain minimum capital adequacy
   requirements.

11. INCOME TAXES

   The Company and BAM Management, together with other affiliated group members of BAM
   Management, authorized and consented to be included in a consolidated income tax return for federal



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   (United States) income tax return reporting purposes; and, report combined corporate tax liability on a
   single return. In addition, BAM Management and its wholly-owned subsidiaries, including BAM Trading,
   are subject to unitary combined income/franchise tax reporting requirements in certain state jurisdictions.
   BAM Trading may be required to file separate state corporation tax returns in jurisdictions that require
   such separate filings, including those jurisdictions where the Company may be subject to market-based
   sourcing rules or regulatory or state registration requirements.

   Generally, the amount of current and deferred tax expense for an income tax return group that files a
   consolidated income tax return is allocated among the members of that group when those members issue
   separate financial statements. The Company elected to compute its federal state and local income tax
   provisions as if it was a separate taxpayer by using a “separate return” method. Under this method, the
   Company is assumed to file a separate return with the tax authority, thereby reporting its taxable income
   or loss and paying the applicable tax to or receiving the appropriate refund from BAM Management. The
   current provision is the amount of tax payable or refundable on the basis of a hypothetical, current-year
   separate return. The Company provides deferred taxes on temporary differences and on any carryforwards
   that it could claim on its hypothetical return and assess the need for a valuation allowance on the basis of
   its projected separate return results. The sum of the amounts allocated to individual members of the income
   tax return group may or may not equal the consolidated amount under this method.

   The benefit from income taxes consisted of the following for the year ended December 31:

                                                                                          2022
    Current:
     Federal                                                                       $      (817,869)
     State                                                                                  196,528
      Total current                                                                $      (621,341)

    Deferred
     Federal                                                                       $ (28,628,238)
     State                                                                            (8,390,660)
      Total current                                                                $ (37,018,898)


      Total benefit from income taxes                                              $ (37,640,239)




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   Significant components of the Company's deferred income tax assets and liabilities are as follows as of
   December 31:

                                                                                             2022
    Deferred tax assets:
     Net operating losses                                                           $     11,398,983
     Unrealized loss/impairment on crypto assets                                           7,493,174
     Other                                                                                 4,893,541
     Capital loss                                                                          8,283,633
     Capitalized research and development expenses                                         3,373,196
      Total deferred tax assets                                                           35,442,527
      Valuation allowance                                                               (15,776,807)
      Deferred tax assets after valuation allowance                                       19,665,720

    Deferred tax liabilities
     Property and equipment                                                               (147,394)
      Total deferred tax liabilities                                                      (147,394)
      Total net deferred tax asset                                                   $ (19,518,326)


   The effective income tax rate differs from the statutory federal income tax rate as follows for the year
   ended December 31:


                                                                                          2022
     Tax at federal statutory rate                                                           21.0 %
     State taxes, net of federal benefit                                                      4.0
     Other permanent items                                                                   (0.6)
     Change in valuation allowance                                                           (7.2)
                                                                                             17.2 %


   Management assesses all available positive and negative evidence to estimate whether sufficient future
   taxable income will be generated to permit use of the existing deferred tax assets. A significant piece of
   objective negative evidence is the cumulative earnings or losses incurred over a three-year period. This
   objective evidence limits the ability to consider other subjective evidence such as the Company's
   projections for future growth. On the basis of this evaluation, as of December 31, 2022, the Company
   determined that it has federal and state net deferred tax assets of $19,518,326. The net deferred tax assets
   as of December 31, 2022 are subject to a valuation allowance on the combined unrealized loss/impairment
   on crypto assets and capital losses of $15,776,807 as it is more likely than not that those net deferred tax
   assets will not be realized. The change in the valuation allowance was $15,776,807 for the year ended
   December 31, 2022. However, should there be a change in the Company’s ability to recover its deferred
   tax assets, it would recognize a benefit to its tax provision in the period in which it determines that it is
   more likely than not that it will recover its deferred tax assets.




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   As of December 31, 2022, the differences between income taxes expected at the U.S. federal statutory
   income tax rate of 21.0% and the reported income tax expense are primarily related to state taxes, net of
   federal benefit, stock compensation, various permanent items, and a valuation allowance from capital
   losses.

   The Company and its affiliates are computing their respective tax obligation on a stand-alone basis. The
   Company, together with BAM Management and an affiliate company, files U.S. Corporation federal and
   state income and franchise tax returns in jurisdictions with varying statutes of limitations. Currently these
   statutes of limitations are open from 2018 forward for the U.S., and 2017 forward for California.

   As of December 31, 2022, the Company had federal and state net operating losses of approximately
   $44,622,000 and $32,630,000 on a standalone basis. The federal net operating loss carryforwards will
   carry forward indefinitely and the state carryforwards, if not utilized, will start to expire in 2039. The
   Company files U.S. federal and state income tax returns in jurisdictions with varying statutes of limitations.
   The Company is not currently under audit.

12. SUBSEQUENT EVENTS

   The Company has evaluated subsequent events through May 10, 2023, the date the financial statements
   were available to be issued, and is not aware of any material subsequent events that have not been disclosed
   in the notes to the financial statements.




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                                    Exhibit C-5
     Revenue, Gross Profit, and PJI Calculations February 2019 - April 2023

           Year                 Total Revenue          Gross Profit       PJI
                      2019               $254,184            $138,983       $21,397
                      2020            $11,002,835          $5,352,417     $583,416
                      2021           $265,850,338       $147,178,971    $11,236,377
                      2022            $95,585,671         $51,112,209    $1,490,474
                      2023            $38,208,558         $20,891,828     $124,206

Total Feb 2019-Apr 2023              $410,901,585        $224,674,408   $13,455,870

Notes:
2019 data is from February 4 through December 31.
2023 data is from January 1 through April 30.
PJI Calculations assume violation date for each year is December 31
Gray cells denote assumptions.
